            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 1 of 84



 1   BOIES SCHILLER FLEXNER LLP
     George F. Carpinello (Admitted Pro Hac Vice)
 2   gcarpinello@bsfllp.com
     Joseph D. Starsia (Admitted Pro Hac Vice)
 3   jstarsia@bsfllp.com
     30 S. Pearl St., 11th Floor
 4   Albany, NY 12207
     Telephone: (518) 434-0600
 5   Facsimile: (518) 434-0665

 6   Sean P. Rodriguez (SBN 262437)
     srodriguez@bsfllp.com
 7   Alexander J. Konik (SBN 299291)
     akonik@bsfllp.com
 8   44 Montgomery Street, 41st Floor
     San Francisco, CA 94104
 9   Telephone: (415) 293-6800
     Facsimile: (415) 293-6899
10
     WILBANKS & GOUINLOCK, LLP
11   Marlan B. Wilbanks (Admitted Pro Hac Vice)
     mbw@wilbanksgouinlock.com
12   Susan S. Gouinlock (Admitted Pro Hac Vice)
     ssg@wilbanksgouinlock.com
13   3490 Piedmont Road, NE, Suite 1010
     Atlanta, Georgia 30305
14   Telephone: (404) 842-1075
     Facsimile: (404) 842-0559
15
     WITHROW, MCQUADE & OLSEN, LLP
16   Scott C. Withrow (Admitted Pro Hac Vice)
     swithrow@wmolaw.com
17   3379 Peachtree Road, NE, Suite 970
     Atlanta, Georgia 30326
18   Telephone: (404) 814-0200
     Facsimile: (404) 814-0009
19
     HIRST LAW GROUP, P.C.
20   Michael A. Hirst, Esq. (SBN 131034)
     michael.hirst@hirstlawgroup.com
21   Marisela Bernal, Esq. (SBN 329589)
     marisela.bernal@hirstlawgroup.com
22   200 B Street, Suite A
     Davis, CA 95616
23   Telephone: (530) 756-7700
     Facsimile: (530) 756-7707
24
     Attorneys for Qui Tam Plaintiff/Relator
25   Laurie M. Hanvey

26

27

28


     Case No. 14-cv-04100 KAW                    1
                                     THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 2 of 84



 1                             UNITED STATES DISTRICT COURT
 2                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3                                     OAKLAND DIVISION
 4   UNITED STATES OF AMERICA and the               Case No. 14-cv-04100-KAW
     STATE OF CALIFORNIA ex. rel. LAURIE
 5   M. HANVEY,                                     THIRD AMENDED COMPLAINT
                                                    FOR VIOLATION OF FEDERAL
 6                              Relator,            FALSE CLAIMS ACT (31 U.S.C. §
                                                    3729 ET SEQ.) AND CALIFORNIA
 7         v.                                       FALSE CLAIMS ACT (CAL. GOV’T
                                                    CODE §§ 12650 ET SEQ.)
 8   SUTTER HEALTH;
 9   SUTTER VALLEY HOSPITALS, f/k/a
     Sutter Health Sacramento Sierra Region,        DEMAND FOR JURY TRIAL
10   f/k/a Sutter Central Valley Hospitals, f/k/a
     Memorial Hospitals Association, d/b/a Sutter
11   Medical Center, Sacramento, a/k/a Sutter
     Roseville Medical Center, a/k/a Sutter
12   Amador Hospital,
     a/k/a Sutter Auburn Faith Hospital, a/k/a
13   Sutter
     Davis Hospital, a/k/a Sutter Solano Medical
14   Center, d/b/a Memorial Medical Center,
     a/k/a Memorial Hospital Los Banos, a/k/a
15   Sutter Tracy Community Hospital;
16   SUTTER VALLEY MEDICAL
     FOUNDATION, f/k/a Sutter Medical
17   Foundation, f/k/a Sutter Gould Medical
     Foundation;
18
     SUTTER BAY HOSPITALS, f/k/a Sutter
19   East Bay Hospitals, f/k/a Sutter Medical
     Center, Castro Valley, d/b/a Alta Bates
20   Summit Medical Center, a/k/a Sutter Delta
     Medical Center, d/b/a Eden Medical Center;
21
     SUTTER MEDICAL GROUP, A
22   CALIFORNIA CORPORATION;
23   EAST BAY CARDIAC SURGERY
     CENTER MEDICAL GROUP; and
24
     STEPHEN K. LIU, M.D., PROFESSIONAL
25   CORPORATION
26                              Defendants.
27

28


     Case No. 14-cv-04100 KAW                  2
                                   THIRD AMENDED COMPLAINT
             Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 3 of 84



 1                                  THIRD AMENDED COMPLAINT
 2          LAURIE M. HANVEY (“Relator”), by and through her counsel of record, brings this action

 3   on behalf of the United States of America and the State of California against SUTTER HEALTH;

 4   SUTTER VALLEY HOSPITALS, f/k/a Sutter Health Sacramento Sierra Region, f/k/a Sutter Central

 5   Valley Hospitals, f/k/a Memorial Hospitals Association, d/b/a Sutter Medical Center, Sacramento,

 6   a/k/a Sutter Roseville Medical Center, a/k/a Sutter Amador Hospital, a/k/a Sutter Auburn Faith

 7   Hospital, a/k/a Sutter Davis Hospital, a/k/a Sutter Solano Medical Center, d/b/a Memorial Medical

 8   Center, a/k/a Memorial Hospital Los Banos, a/k/a Sutter Tracy Community Hospital; SUTTER

 9   VALLEY MEDICAL FOUNDATION, f/k/a Sutter Medical Foundation, f/k/a Sutter Gould Medical
10   Foundation; and SUTTER BAY HOSPITALS, Sutter East Bay Hospitals, f/k/a Sutter Medical
11   Center, Castro Valley, d/b/a Alta Bates Summit Medical Center, a/k/a Sutter Delta Medical Center,
12   d/b/a Eden Medical Center (hereinafter collectively referred to as the “SUTTER HEALTH
13   ENTITIES” unless otherwise indicated); and against SUTTER MEDICAL GROUP, A
14   CALIFORNIA CORPORATION; EAST BAY CARDIAC SURGERY CENTER MEDICAL
15   GROUP; and STEPHEN K. LIU, M.D., PROFESSIONAL CORPORATION (hereinafter
16   collectively referred to as the “PHYSICIAN ENTITIES” unless otherwise indicated); pursuant to the
17   Qui Tam provisions of the False Claims Act (“FCA”), 31 U.S.C. § 3729-33, et. seq., and the California
18   False Claims Act (“CFCA”), Cal. Gov’t Code §§ 12650, et seq.
19          As set forth below, SUTTER VALLEY HOSPITALS, SUTTER VALLEY MEDICAL

20   FOUNDATION, and SUTTER BAY HOSPITALS have routinely paid or provided, with the
21   knowledge of and at the direction of SUTTER HEALTH, unlawful kickbacks, excessive
22   compensation, free employees and other illegal incentives to physicians who refer patients to
23   SUTTER VALLEY HOSPITALS and SUTTER BAY HOSPITALS in violation of federal and
24   California law. By knowingly submitting or causing to be submitted claims for reimbursement to
25   Government healthcare payers, including Medicare, TRICARE, CHAMPVA, FEHBP, and Medicaid

26   (hereinafter collectively referred to as “Government Payers” or ”Government Health Care Programs”)

27   based on referrals generated by physicians to whom SUTTER VALLEY HOSPITALS, SUTTER

28   VALLEY MEDICAL FOUNDATION, and SUTTER BAY HOSPITALS, with the knowledge of and


     Case No. 14-cv-04100 KAW                    3
                                     THIRD AMENDED COMPLAINT
             Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 4 of 84



 1   at the direction of SUTTER HEALTH, paid kickbacks, excessive compensation and other

 2   remuneration under illegal financial relationships, the SUTTER HEALTH ENTITIES violated the

 3   FCA and the CFCA because they knew such claims were not eligible for reimbursement under 42

 4   U.S.C. § 1395nn (commonly known as the “Stark Law” or “Stark Statute”); 42 U.S.C. § 1320a-7b(b)

 5   (commonly known as the federal Anti-Kickback Statute or “AKS”); California Business and

 6   Professions Code, section 650 (prohibiting inducements for referring patients); and California

 7   Welfare and Institutions, section 14107.2(b) (prohibiting payments for referrals for services to

 8   Medicaid patients). In addition, as specifically described below, the PHYSICIAN ENTITIES

 9   conspired with each of SUTTER VALLEY HOSPITALS, SUTTER VALLEY MEDICAL
10   FOUNDATION, SUTTER BAY HOSPITALS, and SUTTER HEALTH to cause the submission of
11   false claims in violation of the FCA and the CFCA by accepting the unlawful kickbacks,
12   compensation and other remuneration for referring beneficiaries of Government Health Care
13   Programs for services provided at SUTTER VALLEY HOSPITALS and SUTTER BAY
14   HOSPITALS, services that the PHYSICIAN ENTITIES knew would be fraudulently billed by
15   SUTTER VALLEY HOSPITALS and SUTTER BAY HOSPITALS, at the direction of SUTTER
16   HEALTH, to Government Payers. See 31 U.S.C. § 3729(a)(1)(C); Cal. Gov’t Code § 12651(a)(3).
17     I.   NATURE OF ACTION AND SUMMARY OF FRAUD
18          1.      Relator brings this action on behalf of the United States of America and the State of
19   California (hereafter collectively “Government”) to recover treble damages and civil monetary

20   penalties under the FCA and CFCA arising from false and fraudulent statements, records and claims
21   made and caused to be made by Defendants to the Government.
22          2.      Within the time frames detailed below, Defendants knowingly submitted thousands of
23   false claims to the United States and the State of California which resulted in millions of dollars of
24   government reimbursement that would not have been paid but for Defendants’ misconduct.
25          3.      Since at least 2006, SUTTER HEALTH has designed and enacted a network-wide

26   scheme to increase its profits by defrauding government healthcare programs. SUTTER HEALTH

27   has directed and worked with its subsidiaries and affiliates across its healthcare network to submit

28   false claims for payment or to cause such claims to be submitted. Throughout this time, SUTTER


     Case No. 14-cv-04100 KAW                     4
                                      THIRD AMENDED COMPLAINT
             Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 5 of 84



 1   HEALTH has supported and directed the fraudulent conduct and directly intervened to shut down

 2   attempts by Relator and others to correct it. This scheme has led to multiple settlements between

 3   SUTTER HEALTH, its subsidiaries and affiliates, and the United States government, including a

 4   settlement as a result of a part of Relator’s original Complaint in this action. The fraudulent scheme

 5   described hereinafter with greater specificity in this Complaint includes:

 6                  A.      From July 1, 2006 through at least November 30, 2014, SUTTER VALLEY

 7   HOSPITALS, f/k/a Sutter Health Sacramento Sierra Region, d/b/a Sutter Medical Center Sacramento,

 8   with the knowledge of and at the direction of SUTTER HEALTH, knowingly and repeatedly paid

 9   Sacramento Cardiovascular Surgeons Medical Group, Inc., (“SAC CARDIO”) over $1.9 million
10   annually to induce referrals. SAC CARDIO is a physician organization in which three cardiovascular
11   surgeons in Sacramento held ownership interests as shareholders during all times relevant hereto.
12   Those three cardiovascular surgeons are Drs. Ingram, Kincade and Longoria. SUTTER VALLEY
13   HOSPITALS, at the direction of SUTTER HEALTH, paid SAC CARDIO to induce referrals by
14   stacking preferential arrangements with these surgeons that provided for exclusive cardiac call
15   coverage and duplicative medical directorships. SUTTER VALLEY HOSPITALS, with the
16   knowledge of and at the direction of SUTTER HEALTH, also provided free employees to SAC
17   CARDIO in the form of payments for four full-time Physician Assistants for whose time SAC
18   CARDIO billed Government Payers for the financial benefit of SAC CARDIO’s physician owners.
19   See ¶¶ 109-162 below. The United States and Relator entered into a partial settlement agreement

20   with SAC CARDIO on December 23, 2019. See Dkt. 45. Relator then dismissed SAC CARDIO from
21   the remainder of this case on June 3, 2020. See Dkt. 72.
22                  B.      From March 1, 2013 through at least November 30, 2014, SUTTER
23   MEDICAL GROUP, with the knowledge of and at the direction of SUTTER VALLEY HOSPITALS,
24   and SUTTER HEALTH, knowingly and repeatedly paid another cardiovascular surgeon, Dr. David
25   K. Roberts, between $309,024 and $392,040 annually to induce referrals through a series of Medical

26   Director Agreements (“MDAs”). The MDAs initially required an average of 87 hours per month paid

27   at $296 per hour; and, beginning May 1, 2014, required an average of 121 hours of service per month,

28   paid at $270 per hour. Despite those purported time commitments for which SUTTER MEDICAL


     Case No. 14-cv-04100 KAW                     5
                                      THIRD AMENDED COMPLAINT
              Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 6 of 84



 1   GROUP improperly and knowingly paid Dr. Roberts, he simultaneously continued to maintain a full-

 2   time private medical practice during the periods of time covered by the MDAs. See ¶¶ 163-172 below.

 3                  C.      From February 4, 2009 through at least November 30, 2014, SUTTER BAY

 4   HOSPITALS, f/k/a Alta Bates Summit Medical Center, f/k/a Sutter East Bay Hospitals, at the

 5   direction of SUTTER HEALTH, knowingly and repeatedly paid East Bay Cardiac Surgery Center

 6   Medical Group, a physician organization in which two cardiothoracic surgeons in Oakland held

 7   ownership interests as partners during all time periods relevant hereto, up to $1,355,000 annually to

 8   induce referrals through a preferential arrangement providing for medical directorships, exclusive call

 9   coverage, and payments for phantom and/or unspecified data collection services. See ¶¶ 173-187
10   below.
11                  D.      From September 1, 2008 through at least November 30, 2014, SUTTER
12   VALLEY HOSPITALS, f/k/a Memorial Hospitals Association, f/k/a Sutter Central Valley Hospitals,
13   d/b/a Memorial Medical Center, d/b/a Memorial Hospital Los Banos, with the knowledge of and at
14   the direction of SUTTER HEALTH, knowingly and repeatedly paid Dr. Stephen K. Liu, Professional
15   Corporation up to $438,000 per year for exclusive call coverage throughout a period of 24 hours per
16   day for all 365 days of the year. Dr. Stephen K. Liu, PC is the professional corporation of Dr. Stephen
17   K. Lieu who is the sole owner. Dr. Liu is an interventional radiologist in Modesto, CA. SUTTER
18   VALLEY HOSPITALS, at the direction of SUTTER HEALTH, paid this exclusive call coverage to
19   induce referrals by rewarding Dr. Liu for his high-volume of referrals. He was the highest billing

20   interventional radiologist in the entire State of California, having received Medicare payments of
21   $4,604,464.10 in 2012. See ¶¶ 188-201 below.
22                  E.      From February 1, 2008 through at least November 30, 2014, SUTTER
23   VALLEY HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH,
24   knowingly and repeatedly paid excessive compensation as detailed below to CEP America-California,
25   a general partnership f/k/a California Emergency Physicians Medical Group, a general partnership in

26   Emeryville (“CEPMG GP”), a physician organization in which hundreds of physicians held

27   ownership interests as partners during all times relevant hereto, to induce referrals to hospitals owned

28   and operated by SUTTER VALLEY HOSPITALS in Los Banos, Sacramento, Roseville, Auburn,


     Case No. 14-cv-04100 KAW                     6
                                      THIRD AMENDED COMPLAINT
             Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 7 of 84



 1   and Davis, California, and to a hospital owned and operated by SUTTER BAY HOSPITALS in

 2   Antioch, California. SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction

 3   of SUTTER HEALTH, entered into compensation arrangements with CEPMG GP under which it

 4   knowingly and repeatedly paid CEPMG GP for all the direct costs associated with four mid-level

 5   practitioners (“Mid-Level Practitioners,” is defined to include Physician Assistants and Nurse

 6   Practitioners) working for CEPMG GP and allowed CEPMG GP to bill for and receive payment for

 7   the services of those (free) Mid-Level Practitioners. Moreover, SUTTER VALLEY HOSPITALS,

 8   with the knowledge of and at the direction of SUTTER HEALTH, knowingly and repeatedly paid

 9   CEPMG GP $300,000 per year purportedly to compensate CEPMG GP for providing professional
10   services to patients who either lack a third-party payment source or whose third-party payor
11   reimbursement was insufficient to cover CEPMG GP’s costs of providing the services. In reality,
12   SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH,
13   did this to induce referrals and reward CEPMG GP for referrals to SUTTER VALLEY HOSPITALS.
14   See ¶¶ 202-223 below.
15          4.      The physician compensation scheme intentionally perpetrated by the named SUTTER
16   HEALTH ENTITIES with the named PHYSICIAN ENTITIES violated the Stark Statute, 42 U.S.C.
17   § 1395nn, the Anti-Kickback Statute, 42 U.S.C. § 1320-7b(b) (the “AKS”), the California Business
18   and Professions Code, § 650, and California Welfare and Institutions, § 14107.2(b) and the FCA and
19   CFCA. The Stark Statute and AKS arose out of concern by Congress that certain types of financial

20   incentives, or items of value, could improperly influence or even corrupt the medical decision-making
21   of physicians and other health care providers, resulting in federal funds being diverted to pay for
22   goods and services that are medically unnecessary, of poor quality, or even harmful to a vulnerable
23   patient population.
24          5.      As set forth in detail below, SUTTER VALLEY HOSPITALS and SUTTER BAY
25   HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH, knowingly

26   submitted or caused to be submitted false claims for reimbursement to Government Payers for

27   services referred to SUTTER VALLEY HOSPITALS and SUTTER BAY HOSPITALS by the

28   PHYSICIAN ENTITIES to whom SUTTER VALLEY HOSPITALS and SUTTER BAY


     Case No. 14-cv-04100 KAW                    7
                                     THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 8 of 84



 1   HOSPITALS, at the direction of SUTTER HEALTH, paid kickbacks and illegal excessive

 2   compensation to induce such referrals. Relator has personal and direct insider knowledge of the

 3   illegal compensation arrangements among SUTTER VALLEY HOSPITALS, SUTTER VALLEY

 4   MEDICAL FOUNDATION, SUTTER BAY HOSPITALS and the named PHYSICIAN ENTITIES;

 5   the illegal referral practices of specific physicians at issue here at each PHYSICIAN ENTITY; the

 6   billing processes of SUTTER VALLEY HOSPITALS and SUTTER BAY HOSPITALS that resulted

 7   in its submission of false claims to Government Health Care Programs; and the control that SUTTER

 8   HEALTH exercised over SUTTER VALLEY HOSPITALS, SUTTER VALLEY MEDICAL

 9   FOUNDATION, and SUTTER BAY HOSPITALS. The same fraudulent schemes resulted in false
10   claims to all of the Government Payers. In this Third Amended Complaint, Relator sets forth
11   representative examples of actual false claims to Government Payers resulting from SUTTER
12   HEALTH ENTITIES’ fraudulent scheme, including representative examples of claims for services
13   referred to SUTTER VALLEY HOSPITALS by SAC CARDIO that violate the Stark Law and/or
14   AKS.
15          6.     As set forth in detail below, SUTTER VALLEY HOSPITALS and SUTTER BAY
16   HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH, knowingly
17   submitted for reimbursement to Government Payers while falsely certifying to those Payers
18   compliance with the Stark Statute and AKS. By virtue of its own acts in control of the finances and
19   physician compensation arrangements of its subsidiary hospitals, SUTTER HEALTH caused

20   SUTTER VALLEY HOSPITALS and SUTTER BAY HOSPITALS to submit false claims to
21   Government Healthcare Programs as described herein.
22          7.     The violations of the Stark Statute and AKS by the SUTTER HEALTH ENTITIES
23   are material to the Government Payers’ decisions to pay the claims submitted by SUTTER VALLEY
24   HOSPITALS and SUTTER BAY HOSPITALS, with the knowledge of and at the direction of
25   SUTTER HEALTH. Had the Government Payers known that the claims were false claims because

26   they resulted from the Stark Statute or AKS violations, the Government Payers would not have paid

27   those claims as a matter of law, because such Government payments are statutorily prohibited. See

28


     Case No. 14-cv-04100 KAW                    8
                                     THIRD AMENDED COMPLAINT
             Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 9 of 84



 1   42 U.S.C. § 1395nn(g)(1); 42 U.S.C. § 1396(s). Claims for reimbursement for services resulting from

 2   violations of AKS are false claims under the FCA and the CFCA. 42 U.S.C. § 1320a-7b(g).

 3           8.      In addition to the SUTTER HEALTH ENTITIES violating the FCA and the CFCA by

 4   knowingly submitting or causing to be submitted false claims and making or causing to be made false

 5   statements material to false claims, SUTTER VALLEY HOSPITALS and SUTTER BAY

 6   HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH, violated the FCA

 7   and the CFCA by knowingly and improperly retaining the payments received for such false claims.

 8   SUTTER VALLEY HOSPITALS and SUTTER BAY HOSPITALS were required to pay back such

 9   overpayments in full, but knowingly did not do so, at the direction of SUTTER HEALTH.
10    II.    JURISDICTION AND VENUE
11           9.      This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.
12   §§ 1331, 1345, 1367(a) and 3732, the last of which specifically confers jurisdiction on this Court for
13   actions brought under the FCA and related claims brought under the laws of any State. This Court
14   has jurisdiction over this qui tam action pursuant to 31 U.S.C. § 3730(b). Relator is an “original
15   source” and is authorized to maintain this action in the name of the United States and the State of
16   California.
17           10.     This Court may exercise personal jurisdiction over Defendants pursuant to 31 U.S.C.
18   § 3732(a) and because one or more of the Defendants resides or transacts business in the Northern
19   District of California.

20           11.     Venue is proper in the Northern District of California under 31 U.S.C. § 3732(a) and
21   28 U.S.C. § 1391(b) and (c) because one or more of the Defendants can be found in, resides in, or
22   transacts business in this judicial district.
23           12.     Relator made voluntary disclosures to the United States and the State of California
24   prior to filing this lawsuit and complied with 31 U.S.C. § 3730(b)(2) and Cal. Gov’t Code §
25   12652(c)(3).

26   III.            INTRADISTRICT ASSIGNMENT
27           13.     Assignment to a particular division within the Northern District of California under

28   Civil Local Rule 3.2(c) is based on the Courthouse serving the county in which the action arises. This


     Case No. 14-cv-04100 KAW                        9
                                         THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 10 of 84



 1   action arises in Alameda County, California, because a substantial part of the events or omissions

 2   which give rise to the claims in this Complaint occurred in Alameda County, California. According

 3   to Civil Local Rule 3-2(d), assignment is proper to the San Francisco Division or the Oakland

 4   Division.

 5   IV.    THE PARTIES
 6          14.     Plaintiff-Relator Laurie M. Hanvey was employed by SUTTER VALLEY

 7   HOSPITALS as the Compliance Officer of two of its hospitals at Sutter Medical Center (“SMC”) in

 8   Sacramento, California. She worked for SUTTER VALLEY HOSPITALS from December 2012 to

 9   December 2014, after previously working for over 25 years for other hospitals in the State of
10   California. As the Compliance Officer for SMC, Relator reported directly to top executives of
11   SUTTER VALLEY HOSPITALS and directly to the Chief Compliance Officer of SUTTER
12   HEALTH. Relator worked within a network of compliance personnel overseeing other hospitals
13   controlled by SUTTER HEALTH. She gained personal knowledge of Defendants’ false claims in
14   the regular course of her job duties. Relator holds a Master’s Degree in Business Administration and
15   was certified in Healthcare Compliance. She brings this qui tam action based on her direct personal
16   knowledge gained during her years of employment as a corporate insider at SUTTER VALLEY
17   HOSPITALS with reporting obligations directly to SUTTER HEALTH.
18          15.     Defendant     SUTTER      HEALTH       is   a   California   not-for-profit   corporation
19   headquartered in Sacramento, California. SUTTER HEALTH serves as the parent of a health care

20   delivery system that includes centralized support groups such as the General Counsel’s Office and
21   Compliance departments and various health care-related businesses operating primarily in five
22   geographic regions, principally in Northern California. The SUTTER HEALTH system includes 24
23   acute care hospitals, over 5,000 physicians and over 48,000 employees. SUTTER HEALTH and its
24   subsidiaries and affiliates had consolidated gross revenues of $9.6 billion in 2013 and held $5.1 billion
25   in cash and marketable securities as of December 31, 2013. As a large and sophisticated provider of

26   health care services to Government Health Care Programs’ beneficiaries, SUTTER HEALTH is

27   charged with understanding and following the law and implementing policies and procedures that

28   comply with the explicit requirements of the Stark Law, AKS, FCA and CFCA.


     Case No. 14-cv-04100 KAW                      10
                                       THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 11 of 84



 1          16.     Defendant SUTTER VALLEY HOSPITALS, is a California not-for-profit corporation

 2   with its principal place of business at 2700 Gateway Oaks Boulevard, Suite 2200, Sacramento,

 3   California 95833.    SUTTER VALLEY HOSPITALS does business as Sutter Medical Center,

 4   Sacramento (two hospitals totaling 727 beds), Sutter Center for Psychiatry (69-bed hospital), Sutter

 5   Roseville Medical Center (328-bed hospital), Sutter Amador Hospital (52-bed hospital), Sutter

 6   Auburn Faith Hospital (69-bed hospital), Sutter Davis Hospital (48-bed hospital), Sutter Solano

 7   Medical Center (102-bed hospital), Memorial Medical Center (423-bed hospital), Memorial Hospital

 8   Los Banos (46-bed hospital) and Sutter Tracy Community Hospital (82-bed hospital). SUTTER

 9   VALLEY HOSPITALS is a subsidiary of and is controlled by SUTTER HEALTH.
10          17.     Defendant SUTTER VALLEY MEDICAL FOUNDATION, f/k/a Sutter Medical
11   Foundation, is a California not-for-profit corporation with its principal place of business at 2700
12   Gateway Oaks Boulevard, Suite 2200, Sacramento, California 95833.               SUTTER VALLEY
13   MEDICAL FOUNDATION is aligned with physicians and mid-level providers of Defendant
14   SUTTER MEDICAL GROUP to provide primary care and specialty care to patients. SUTTER
15   VALLEY MEDICAL FOUNDATION is a subsidiary of and is controlled by SUTTER HEALTH.
16          18.     Defendant SUTTER BAY HOSPITALS, f/k/a Sutter East Bay Hospitals, is a
17   California not-for-profit corporation with its principal place of business at 2000 Powell Street, 10th
18   Floor, Emeryville, California 94608. SUTTER BAY HOSPITALS does business as Alta Bates

19   Summit Medical Center (two hospitals totaling 819 beds), Sutter Delta Medical Center (145-bed

20   hospital) and Eden Medical Center (130-bed hospital). SUTTER BAY HOSPITALS is a subsidiary
21   of and is controlled by SUTTER HEALTH.
22          19.     Defendant SUTTER MEDICAL GROUP, A California Corporation, is a California
23   for-profit professional corporation with its principal place of business at 2750 Gateway Oaks Drive,
24   Suite 150, Sacramento, California 95833. SUTTER MEDICAL GROUP is a multi-specialty medical
25   group including approximately 470 physicians and 120 allied health professionals.

26          20.     Sacramento Cardiovascular Surgeons Medical Group, Inc., (“SAC CARDIO”) is a

27   California for-profit professional corporation with its principal place of business at 2800 L Street,

28   Suite 260, Sacramento, California 95816. SAC CARDIO is a physician organization in which the


     Case No. 14-cv-04100 KAW                     11
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 12 of 84



 1   following three cardiovascular surgeons held ownership interests as shareholders during all times

 2   relevant hereto: Dr. Michael T. Ingram, Dr. Robert Kincade and Dr. James Longoria. SAC CARDIO

 3   was a named defendant in Relator’s First Amended Complaint (Dkt. No. 46), but Relator has since

 4   dismissed this defendant (Dkt. 72).

 5           21.     Defendant EAST BAY CARDIAC SURGERY CENTER MEDICAL GROUP is a

 6   California general partnership with its principal place of business at 3300 Webster Street, Suite 500,

 7   Oakland, California 94610. EAST BAY CARDIAC SURGERY CENTER MEDICAL GROUP is a

 8   physician organization in which the following two cardiovascular surgeons held ownership interests

 9   as partners during all times relevant hereto: Dr. Junaid H. Khan and Dr. Russell D. Stanten.
10           22.     Defendant STEPHEN K. LIU, M.D., PROFESSIONAL CORPORATION, is a
11   California for-profit professional corporation with its principal place of business at 1552 Coffee Road,
12   Suite 4, Modesto, California 95355. STEPHEN K. LIU, M.D., PROFESSIONAL CORPORATION
13   is a physician organization in which Dr. Stephen K. Lui held an ownership interest as a shareholder
14   at all times relevant hereto.
15           23.     California Emergency Physicians Medical Group, A Professional Corporation
16   (“CEPMG PC”), is a California for-profit corporation. CEPMG PC is affiliated with CEP America-
17   California, a general partnership f/k/a California Emergency Physicians Medical Group, a general
18   partnership (“CEPMG GP”). CEPMG GP is a physician organization with its principal place of
19   business at 2100 Powell Street, Suite 400, Emeryville, CA 94608. CEPMG GP is a physician

20   organization in which hundreds of physicians held ownership interests as partners. The physicians
21   who held ownership interests as shareholders in CEPMG GP during all times relevant hereto include
22   Dr. Mark J. Spiro, Dr. Theo Koury, Dr. Joseph C. Chiang, Dr. Henry W. Turkel, Dr. Byron F.
23   Carcelen and Dr. Philip Silverstein. CEPMG GP provides emergency room staffing services for
24   hospitals, including the SUTTER HEALTH hospitals located in Los Banos, Roseville, Antioch,
25   Sacramento, Auburn and Davis, California. CEPMG PC was named as a defendant in Relator’s First

26   Amended Complaint (Dkt. No. 46), but Relator has since dismissed this defendant (Dkt. No. 136).

27   ///

28   ///


     Case No. 14-cv-04100 KAW                     12
                                      THIRD AMENDED COMPLAINT
              Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 13 of 84



 1       V.   THE FALSE CLAIMS ACT AND THE CALIFORNIA FALSE CLAIMS ACT
 2            24.    The FCA provides for the award of treble damages and civil penalties for, inter alia,

 3   knowingly causing the submission of false or fraudulent claims for payment to the United States

 4   government. 31 U.S.C. § 3729(a)(1). Claims to Government Payers for reimbursement for health

 5   care services rendered to patients referred by physicians in violation of the Stark Law (as hereinafter

 6   described) are false claims actionable under the FCA.

 7            25.    The FCA provides, in pertinent part, that a person who:

 8                   (a)(1)(A) knowingly presents, or causes to be presented, a false or fraudulent claim for
                     payment or approval;
 9
                     (a)(1)(B) knowingly makes, uses, or causes to be made or used, a false record or
10                   statement material to a false or fraudulent claim; . . .

11                   (a)(1)(G) knowingly makes, uses, or causes to be made or used, a false record or
                     statement material to an obligation to pay or transmit money or property to the
12                   Government, or knowingly conceals or knowingly and improperly avoids or decreases
                     an obligation to pay or transmit money or property to the Government,
13
                     is liable to the United States Government for a civil penalty of not less than
14                   $5,000 and not more than $10,000, as adjusted by the Federal Civil Penalties
                     Inflation Adjustment Act of 1990 (28 U.S.C. 2461 note; Public Law 104-410),
15                   plus 3 times the amount of damages which the Government sustains. . . .

16   31 U.S.C. § 3729. 1 For purposes of the FCA:
17            the term “knowing” and “knowingly” mean that a person, with respect to information (1) has
              actual knowledge of the information; (2) acts in deliberate ignorance of the truth or falsity of
18            the information; or (3) acts in reckless disregard of the truth or falsity of the information;
              and require no proof of specific intent to defraud.
19

20   31 U.S.C. § 3729(b).

21            26.    The Social Security Act was amended by the Patient Protection and Affordable Care

22   Act, P.L. 111-148 effective March 23, 2010 (“PPACA”), in an important respect relating to the FCA.

23   PPACA established a deadline for reporting and returning overpayments received or retained under

24   Medicare or Medicaid (generally 60 days after the date on which the overpayment was identified),

25
     1
             The FCA was amended pursuant to Public Law 111-21, the Fraud Enforcement and
26   Recovery Act of 2009 (“FERA”), enacted May 20, 2009. Defendants’ fraudulent schemes include
     false claims made prior to and after that date. The four pre-amendment subsections relevant to this
27   action are 31 U.S.C. §§ 3729(a)(1), (a)(2), (a)(3) and (a)(7). The t post-amendment sections relevant
     here are 3729(a)(1)(A), 3729(a)(1)(B), 3729(a)(1)(C) and 3729(a)(1)(G). Post-amendment section
28   3729(a)(1)(B) is applicable to all claims in this case by virtue of Section 4(f) of FERA, which
     makes the changes to that section applicable to all civil actions pending on or after June 7, 2008.
     Case No. 14-cv-04100 KAW                       13
                                        THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 14 of 84



 1   and PPACA provided that any overpayment retained by a person after the deadline for reporting and

 2   returning the overpayments is an obligation as defined in 31 U.S.C. § 3729(b)(3) of the FCA. PPACA

 3   § 6402(d), adding § 1128J to the Social Security Act [42 U.S.C. § 1320a-7k].

 4          27.     The CFCA has similar provisions to the FCA addressing the submission of false and

 5   fraudulent claims to the State of California. Cal. Gov't Code § 12651(a)(1), (2), (3) and (7). The

 6   CFCA was amended effective January 1, 2013 to reflect the amendments made to the FCA by FERA

 7   and PPACA. 2012 Cal. Legis. Serv. Ch. 647 (A.B. 2492) (WEST).

 8   VI.    THE MEDICARE PROGRAM
 9          28.     In 1965, Congress enacted Title XVIII of the Social Security Act, known as the
10   Medicare program, to pay for the costs of healthcare services for certain individuals. The Department
11   of Health and Human Services (“HHS”) is responsible for the administration and supervision of the
12   Medicare program, which it does through the Centers for Medicare and Medicaid Services (“CMS”),
13   an agency of HHS.
14          29.     Entitlement to Medicare is based on age, disability or affliction with end-stage renal
15   disease. See 42 U.S.C. §§ 426, 426A. Part A of the Medicare Program authorizes payment for
16   institutional care, including hospital, skilled nursing facility and home health care. See 42 U.S.C. §§
17   1395c-1395i-4. Part B of the Medicare program primarily covers physician and other ancillary
18   services. See 42 U.S.C. § 1395k.
19          30.     To assist in the administration of Medicare Part A, CMS contracted with “fiscal

20   intermediaries.” 42 U.S.C. § 1395h. Fiscal intermediaries (typically insurance companies) were
21   responsible for processing and paying claims and cost reports.
22          31.     To assist in the administration of Medicare Part B, CMS contracted with “carriers.”
23   Carriers, typically insurance companies, were responsible for processing and paying Part B claims.
24          32.     Beginning in November 2006, Medicare Administrative Contractors (“MACs”) began
25   replacing both the fiscal intermediaries and carriers. See Fed. Reg. 67960, 68181 (Nov. 2006). The

26   MACs generally act on behalf of CMS to process and pay Part A and Part B claims and perform

27   administrative functions on a regional level. See 42 § C.F.R. 421.5(b) (2019).

28


     Case No. 14-cv-04100 KAW                     14
                                      THIRD AMENDED COMPLAINT
               Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 15 of 84



 1             33.   Noridian Healthcare Solutions, LLC, became the MAC for the California region in

 2   September 2013. Palmetto GBA served as the MAC for the California region from September 2008

 3   to August 2013. Prior to September 2008, National Government Services served as the Part A fiscal

 4   intermediary and National Heritage Insurance Company served as the Part B carrier for the California

 5   region.

 6             34.   As a large and sophisticated provider of health care services to Medicare, SUTTER

 7   HEALTH has “a duty to familiarize themselves with the legal requirements for payment.” United

 8   States v. Mackby, 261 F.3d 821, 828 (9th Cir. 2001). “Protection of the public fisc requires that those

 9   who seek public funds act with scrupulous regard for the requirements of law....” Id., quoting Heckler
10   v. Cmty. Health Servs. of Crawford County, Inc., 467 U.S. 51, 63, 104 S.Ct. 2218, 81 L.Ed.2d 42
11   (1984).
12             35.   Providers who wish to be eligible to participate in Medicare Part A must periodically
13   sign an application to participate in the program. The application, which must be signed by an
14   authorized representative of the provider, contains an express certification that states, “I agree to abide
15   by the Medicare laws, regulations and program instructions that apply to this provider. . . . I
16   understand that payment of a claim by Medicare is conditioned upon the claim and the underlying
17   transaction complying with such laws, regulations, and program instructions (including but not
18   limited to, the Federal anti-kickback statute and the Stark law), and on the provider’s compliance with
19   all applicable conditions of participation in Medicare.”

20             36.   Under the Medicare program, CMS makes payments retrospectively (after the services
21   are rendered) to hospitals for inpatient and outpatient services.
22             37.   Upon discharge of Medicare beneficiaries from a hospital, the hospital submits
23   Medicare Part A claims for interim reimbursement for inpatient and outpatient items and services
24   delivered to those beneficiaries during their hospital stays. 42 C.F.R. §§ 413.1, 413.60, 413.64 (2019).
25   At all relevant times, SUTTER VALLEY HOSPITALS and SUTTER BAY HOSPITALS, at the

26   direction of SUTTER HEALTH, submitted claims to Medicare Part A electronically using the

27   standard machine readable format developed by the American National Standards Institute (ANSI)

28   Accredited Standards Committee (ASC) X12N and known as the 837 Institutional format, and was


     Case No. 14-cv-04100 KAW                      15
                                       THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 16 of 84



 1   not allowed to submit claims to Medicare on paper forms UB-92 or UB-04 after the Administrative

 2   Simplification Compliance Act (Pub.L. 107-105, § 1, Dec. 27, 2001) became effective in 2003.

 3          38.     As detailed below, at all relevant times, Defendants SUTTER VALLEY HOSPITALS

 4   and SUTTER BAY HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH,

 5   each were enrolled as a Government Health Care Programs provider and submitted or caused to be

 6   submitted electronic claims to Government Payers both for specific inpatient and outpatient services

 7   provided to individual beneficiaries as well as claims for general and administrative costs incurred in

 8   treating Government Health Care Programs’ beneficiaries.

 9          39.     As a prerequisite to payment under Medicare Part A, CMS requires such hospitals to
10   submit annually a form CMS-2552, more commonly known as the hospital cost report. Cost reports
11   are the final claim that a provider submits to the fiscal intermediary or MAC for items and services
12   rendered to Medicare beneficiaries.
13          40.     After the end of each hospital’s fiscal year, the hospital files its hospital cost report
14   with the fiscal intermediary or MAC, stating the amount of Part A reimbursement the provider
15   believes it is due for the year. See 42 U.S.C. § 1395g(a); 42 C.F.R. § 413.20 (2019); see also 42
16   C.F.R. § 405.1801(b)(1) (2019). Medicare relies upon the hospital cost report to determine whether
17   the provider is entitled to more reimbursement than already received through interim payments, or
18   whether the provider has been overpaid and must reimburse Medicare. See 42 C.F.R. §§ 405.1803,
19   413.60, and 413.64(f)(1) (2019).

20          41.     Defendants SUTTER VALLEY HOSPITALS and SUTTER BAY HOSPITALS, were
21   at all times relevant to this Complaint required to submit annually accurate hospital cost reports to the
22   fiscal intermediary or MAC.
23          42.     During the relevant time period, Medicare Part A payments for hospital services were
24   determined by the claims submitted by the providers for particular patient discharges (specifically
25   listed in electronic claims filed in 837 Institutional format) during the course of the fiscal year. On

26   the hospital cost report, this Medicare Part A liability to the hospital for services is then combined

27   with any Medicare Part A liabilities owed to Medicare from the hospital to determine whether

28


     Case No. 14-cv-04100 KAW                       16
                                        THIRD AMENDED COMPLAINT
               Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 17 of 84



 1   Medicare or the hospital owes the other any funds related to treatment of Medicare Part A beneficiary

 2   patients during the course of a fiscal year.

 3             43.    Under the rules applicable at all times relevant to this Complaint, Medicare, through

 4   its fiscal intermediaries, carriers and MACs, had the right to audit the hospital cost reports and to

 5   investigate representations made by SUTTER VALLEY HOSPITALS and SUTTER BAY

 6   HOSPITALS, at the direction of SUTTER HEALTH, in their claims for reimbursement and its cost

 7   reports to ensure their accuracy and preserve the integrity of the Medicare Trust Funds. This right

 8   includes the right to make retroactive adjustments to hospital cost reports previously submitted by a

 9   provider if any overpayments have been made, such as payments for services rendered by physicians
10   and hospitals which are not in compliance with the Stark Law or the AKS. See 42 C.F.R. § 413.64(f)
11   (2019).
12             44.    Every hospital cost report contains a “Certification” that must be signed by the chief
13   administrator of the provider or a responsible designee of the administrator.
14             45.    For all relevant years, SUTTER VALLEY HOSPITALS and SUTTER BAY
15   HOSPITALS, were required to expressly certify, and did certify, in relevant part:
16             to the best of my knowledge and belief, it [the hospital cost report] is a true, correct and
               complete statement prepared from the books and records of the provider in accordance with
17             applicable instructions, except as noted. I further certify that I am familiar with the laws and
               regulations regarding the provision of health care services, and that the services identified in
18             this cost report were provided in compliance with such laws and regulations.
19             46.    For the entire period at issue, the hospital cost report certification page also included

20   the following notice:
21             Misrepresentation or falsification of any information contained in this cost report may be
               punishable by criminal, civil and administrative action, fine and/or imprisonment under
22             federal law. Furthermore, if services identified in this report were provided or procured
               through the payment directly or indirectly of a kickback or where otherwise illegal, criminal,
23             civil and administrative action, fines and/or imprisonment may result.
24             47.    Thus, the provider was required to certify that the filed hospital cost report is (1)
25   truthful, i.e., that the cost information contained in the report is true and accurate; (2) correct, i.e., that
26   the provider is entitled to reimbursement for the reported costs in accordance with applicable
27   instructions; (3) complete, i.e., that the hospital cost report is based upon all information known to
28


     Case No. 14-cv-04100 KAW                        17
                                         THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 18 of 84



 1   the provider; and (4) that the services provided in the cost report were billed in compliance with

 2   applicable laws and regulations, including the Stark Statute (described below).

 3          48.     For each of the years at issue, SUTTER VALLEY HOSPITALS and SUTTER BAY

 4   HOSPITALS, at the direction of SUTTER HEALTH, submitted cost reports to their fiscal

 5   intermediary attesting, among other things, to the specific certifications quoted above. Those

 6   certifications were false and SUTTER VALLEY HOSPITALS, SUTTER BAY HOSPITALS and

 7   SUTTER HEALTH each knew they were false.

 8          49.     A hospital is required to disclose all known errors and omissions in its claims for

 9   Medicare Part A reimbursement (including its cost reports) to its fiscal intermediary or MAC.
10          50.     In addition to Part A claims, hospitals, doctors or other providers submit Medicare Part
11   B claims to the carrier or MAC for payment.
12          51.     Under Part B, Medicare will generally pay 80 percent of the “reasonable” charge for
13   medically necessary items and services provided to beneficiaries. See 42 U.S.C. §§ 1395l(a)(1),
14   1395y(a)(1). For most services, the reasonable charge has been defined as the lowest of (a) the actual
15   billed charge, (b) the provider’s customary charge, or (c) the prevailing charge for the service in the
16   locality. See 42 C.F.R. §§ 405.502–405.504 (2019).
17          52.     During the relevant time period, PHYSICIAN ENTITIES electronically submitted
18   claims to Medicare Part B for professional services in ANSI ASC X12N 837 Professional format.
19   PHYSICIAN ENTITIES were required to certify, and did certify, by electronically signing each claim

20   submitted to Medicare Part B in 837 Professional format:
21          this claim, whether submitted by me or on my behalf by my designated billing company,
            complies with all applicable Medicare and/or Medicaid laws, regulations, and program
22          instructions for payment including but not limited to the Federal anti-kickback statute and
            Physician Self-Referral law (commonly known as Stark law).
23

24          53.     Medicare regulations require providers and suppliers to accurately certify that they
25   meet, and will continue to meet, the requirements of the Medicare statute and applicable regulations.

26   42 C.F.R. § 424.516(a)(1) (2019).

27          54.     Because it is not feasible for the Medicare program, or its contractors, to review

28   medical records corresponding to each of the millions of claims for payment it receives from


     Case No. 14-cv-04100 KAW                     18
                                      THIRD AMENDED COMPLAINT
             Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 19 of 84



 1   providers, the program relies on providers to comply with Medicare requirements and relies on

 2   providers to submit truthful and accurate certifications and claims.

 3 VII.      THE MEDICAID PROGRAM
 4           55.     Medicaid is a joint federal-state program that provides health care benefits for certain

 5   groups, primarily the poor and disabled. The federal government provides matching funds and ensures

 6   that states comply with minimum standards in the administration of the program.

 7           56.     The federal Medicaid statute sets forth the minimum requirements for state Medicaid

 8   programs to qualify for federal funding, which is called federal financial participation (FFP). 42

 9   U.S.C. §§ 1396, et seq.
10           57.     In order to qualify for FFP, each state’s Medicaid program must meet certain minimum
11   requirements, including the provision of hospital services to Medicaid beneficiaries. 42 U.S.C. §§
12   1396a(10)(A), 1396d(a)(1)-(2).
13           58.     In the State of California, provider hospitals participating in the Medicaid program
14   (known as “Medi-Cal”) submit claims for hospital services rendered to beneficiaries to the California
15   Department of Health Care Services (“DHCS”) for payment.
16           59.     In addition, DHCS requires hospitals participating in the Medi-Cal program to file a
17   copy of their Medicare cost report with DHCS.
18           60.     DHCS uses Medi-Cal patient data and the Medicare cost report to determine the
19   reimbursement to which the facility is entitled based in part on the number of Medi-Cal patients

20   treated at the facility.
21           61.     Medi-Cal, as a health insurance program, has been covering Californians who cannot
22   afford health care since 1966. DHCS programs serve more than 11 million Californians. Nearly 1
23   out of 3 Californians in the state receive health care services financed or organized by DHCS, making
24   the department the largest health care purchaser in California.
25           62.     Under the Affordable Care Act, Medi-Cal coverage expanded in 2014. DHCS now

26   invests more than $91 billion in federal and state public funds to provide health care services for low-

27   income families, children, pregnant women, seniors, and persons with disabilities, while helping to

28   maintain the health care delivery safety net. The Medi-Cal expansion in 2014 opened the door for


     Case No. 14-cv-04100 KAW                      19
                                       THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 20 of 84



 1   millions of additional low-income Californians under age 65 to be eligible for coverage. To be

 2   eligible, annual income must be lower than 138 percent of the federal poverty level. 2
 3 VIII.    TRICARE AND OTHER GOVERNMENT-FUNDED HEALTH CARE PROGRAMS
 4          63.     In addition to Medicaid and Medicare, the federal government reimburses health care

 5   services under several other federal health care programs, including but not limited to TRICARE,

 6   CHAMPVA and the Federal Employees Health Benefit Program (“FEHBP”).

 7          64.     TRICARE, administered by the United States Department of Defense through the

 8   Defense Health Agency, is a health care program for individuals and dependents affiliated with the

 9   armed forces. It offers military families a choice of three options: TRICARE Prime, TRICARE Extra,
10   and TRICARE Standard (formerly known as CHAMPUS (Civilian Health & Medical Program for
11   Uniformed Services), a health care plan for military dependents and retirees).
12          65.     CHAMPVA, administered by the United States Department of Veteran Affairs, is a
13   health care program for the families of veterans with a 100 percent service-connected disability.
14          66.     The FEHBP, administered by the United States Office of Personnel Management,
15   provides health insurance for hundreds of thousands of federal employees, retirees, and survivors.
16          67.     Like Medicare, TRICARE and other federal health care benefit programs cover only
17   medically necessary inpatient and outpatient care. TRICARE defines medically necessary care as
18   services or supplies provided by a hospital, physician, and/or other provider for the prevention,
19   diagnosis, and treatment of an illness, when those services or supplies are determined to be consistent

20   with the condition, illness, or injury; provided in accordance with approved and generally accepted
21   medical or surgical practice; not primarily for the convenience of the patient, the physician, or other
22   providers; and not exceeding (duration or intensity) the level of care, which is needed to provide safe,
23   adequate and appropriate diagnosis and treatments. See 32 C.F.R. § 199.4(a)(1)(i) (2019) and
24   applicable definitions at 32 C.F.R. § 199.2 (2019).
25

26   2
      https://www.dhcs.ca.gov/Pages/Medi-
27   CalExpansionInformation.aspx#:~:text=Expanded%20Coverage%E2%80%8B&text=Under%20the
     %20Affordable%20Care%20Act,Cal%20coverage%20expanded%20in%202014.&text=Adults%20
28   without%20children%2C%20ages%2019,procedures%20for%20Medi%2DCal%20eligibility (last
     viewed Apr. 7, 2021).

     Case No. 14-cv-04100 KAW                     20
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 21 of 84



 1          68.     As with Medicare, providers submit claims to TRICARE using the CMS 1500 or an

 2   electronic equivalent. Providers therefore make the same certifications in submitting claims to

 3   TRICARE as they do when submitting claims to Medicare.

 4          69.     Because it is not feasible for the TRICARE program, or its contractors, to review

 5   medical records corresponding to each of the claims for payment it receives from providers, the

 6   program relies on providers to comply with TRICARE requirements and relies on providers to submit

 7   truthful and accurate certifications and claims.

 8   IX.    THE STARK LAW
 9          70.     Enacted as amendments to the Social Security Act, 42 U.S.C. § 1395nn (the “Stark
10   Statute”) (the Stark Statute and its regulations are collectively defined as the “Stark Law”) prohibits
11   a hospital (or other entity providing designated health services) from submitting Medicare claims for
12   designated health services (as defined in 42 U.S.C. § 1395nn(h)(6)) based on patient referrals from
13   physicians having a “financial relationship” (as defined in the Statute) with the hospital, and prohibits
14   Medicare from paying any such claims.
15          71.     The Stark Statute establishes that the United States will not pay for designated health
16   services prescribed by physicians who have improper financial relationships with other providers.
17   The Statute was designed specifically to prevent losses that might be suffered by the Medicare
18   program due to questionable or improper utilization of designated health services.
19          72.     Compliance with the Stark Law is a condition of payment by the Medicare program.

20   The Stark Statute explicitly states that Medicare may not pay for any designated health service
21   provided in violation of the Stark Statute. See 42 U.S.C. § 1395nn(g)(1). In addition, the regulations
22   implementing the Stark Statute expressly require that any entity collecting payment for a healthcare
23   service “performed under a prohibited referral must refund all collected amounts on a timely basis.”
24   42 C.F.R. § 411.353(d) (2019).
25          73.     Congress enacted the Stark Statute in two parts, commonly known as Stark I and Stark

26   II. Enacted in 1989, Stark I applied to referrals of Medicare patients for clinical laboratory services

27   made on or after January 1, 1992, by physicians with a prohibited financial relationship with the

28


     Case No. 14-cv-04100 KAW                      21
                                       THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 22 of 84



 1   clinical lab provider unless a statutory or regulatory exception applies. See Omnibus Budget

 2   Reconciliation Act of 1989, P.L. 101-239, § 6204, 103 Stat. 2106, 2236-43.

 3          74.      In 1993, Congress passed Stark II, which extended the Stark Statute to referrals for ten

 4   additional designated health services. See Omnibus Reconciliation Act of 1993, P.L. 103-66, §

 5   13562, Social Security Act Amendments of 1994, P.L. 103-432, § 152, 108 Stat. 4398, 4436-37.

 6          75.      The Stark Statute prohibits a hospital from submitting a claim to Medicare for

 7   “designated health services” that were referred to the hospital by a physician with whom the hospital

 8   has a “financial relationship,” unless a statutory exception applies. “Designated health services”

 9   (“DHS”) include inpatient and outpatient hospital services reimbursable under Medicare Part A or
10   Part B. See 42 U.S.C. § 1395nn(h)(6).
11          76.      In pertinent part, the Stark Statute provides:
12          (a)      Prohibition of certain referrals
13                (1) In general. Except as provided in subsection (b) of this section, if a physician . . . has
                  a financial relationship with an entity specified in paragraph (2), then –
14
                     (A)     the physician may not make a referral to the entity for the furnishing of
15                           designated health services for which payment otherwise may be made under
                             this subchapter, and
16
                     (B)     the entity may not present or cause to be presented a claim under this
17                           subchapter or bill to any individual, third party payor, or other entity for
                             designated health services furnished pursuant to a referral prohibited under
18                           subparagraph (A).
19   42 U.S.C. § 1395nn(a)(1).

20          77.      Moreover, the Stark Statute provides that Medicare will not pay for designated health
21   services billed by a hospital when the designated health services resulted from a prohibited referral
22   under subsection (a).       See 42 U.S.C. § 1395nn(g)(1).          Numerous physician compensation
23   arrangements orchestrated by Defendant SUTTER HEALTH violate the Stark Law in multiple ways
24   as set forth below.
25          78.       “Financial relationship” includes a “compensation arrangement,” which includes any

26   arrangement involving any remuneration paid directly or indirectly to a referring physician. See 42

27   U.S.C. §§ 1395nn(h)(1)(A) and (h)(1)(B).

28


     Case No. 14-cv-04100 KAW                       22
                                        THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 23 of 84



 1           79.        A direct compensation arrangement exists if remuneration passes between the

 2   referring physician (or a member of his or her immediate family) and the entity furnishing DHS

 3   without any intervening persons or entities. 42 C.F.R. § 411.354(c)(1)(i) (2019).

 4           80.        A physician is deemed to “stand in the shoes” of his or her physician organization and

 5   have a direct compensation arrangement with an entity furnishing DHS if—

 6                      (A) The only intervening entity between the physician and the entity furnishing DHS

 7                      is his or her physician organization; and

 8                      (B) The physician has an ownership or investment interest in the physician

 9                      organization.42 CF.R. § 411.354(c)(1)(ii) (2019).
10                 A.      Stark Law Exceptions
11           81.        The Stark Statute and companion regulations contain exceptions for certain
12   compensation arrangements. The exceptions operate as affirmative defenses to alleged violations of
13   the Stark Law. Once it has been shown that a party submitting Medicare claims has a financial
14   relationship with a referring physician, the defendant bears the burden of demonstrating that the
15   relationship meets all the requirements of an applicable statutory or regulatory exception to the Stark
16   Law. See, e.g., United States ex rel. Drakeford v. Tuomey Healthcare Sys., Inc., 675 F.3d 394, 405
17   (4th Cir. 2012). These exceptions include, among others, “personal services arrangements,” “fair
18   market value arrangements,” and “indirect compensation relationships.”
19           82.        In order to qualify for the Stark Statute’s exception for personal services arrangements,

20   a compensation arrangement must meet, inter alia, both of the following statutory requirements: (A)
21   the compensation does not exceed fair market value (“FMV”), and (B) is not determined in a manner
22   that takes into account the volume or value of any referrals or other business generated between the
23   parties (unless it falls within a further “physician incentive plan” exception as described in the statute).
24   See 42 U.S.C. § 1395nn(e)(3)(A)(v).
25           83.        A “physician incentive plan” under § 1395nn(e)(3) is defined very narrowly, and only

26   applies to compensation arrangements that “may directly or indirectly have the effect of reducing or

27   limiting services provided with respect to individuals enrolled with the entity.” 42 U.S.C. §

28   1395nn(e)(3)(B)(ii).


     Case No. 14-cv-04100 KAW                         23
                                          THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 24 of 84



 1          84.     To qualify for the Stark Statute’s exception for FMV compensation, the arrangement

 2   must satisfy each of the following conditions: there must be an agreement in writing; the written

 3   agreement must set forth all services to be furnished; all compensation must be set in advance and

 4   consistent with FMV; the agreement must not take into consideration the volume or value of referrals

 5   or other business generated by the referring physician; and the agreement must not violate federal or

 6   state law. See 42 C.F.R. § 411.357(l) (2019).

 7          85.     To qualify for the Stark Statute’s exception for indirect compensation arrangements,

 8   defined as any instance where compensation flows from the entity providing designated health

 9   services through an intervening entity and then to the referral source (see 42 C.F.R. § 411.354(c)(2)
10   (2019)), there must be a written agreement, the compensation must be consistent with FMV, the
11   compensation may not take into consideration the volume or value of referrals or other business
12   generated by the referring physician, and the agreement cannot violate the Anti-Kickback Statute.
13   See 42 C.F.R. § 411.357(p) (2019). In determining whether an indirect compensation arrangement
14   exists, a physician is deemed to “stand in the shoes” of his or her physician organization if the
15   physician has an ownership or investment interest in the physician organization. 42 C.F.R. §
16   411.354(c)(2)(iv)(A) (2019)
17          86.     The Stark Statute applies to claims for payment under Government Health Care
18   Programs. See 42 U.S.C. § 1396b(s).
19          87.     The Stark Law is a strict liability statute, with no scienter component. Medicare

20   providers who knowingly submit claims to the Medicare program in violation of the Stark Law may
21   be found liable for violation of the FCA. A knowing violation of the Stark Law may also subject the
22   billing entity to exclusion from participation in federal health care programs and civil monetary
23   penalties. 42 U.S.C. §§ 1395nn(g)(3), 1320a-7a(a).
24          88.     Compliance with the Stark Law is material to the payment decisions of Government
25   Payers because payment of Stark-tainted claims is statutorily prohibited: Congress decided that

26   certain financial relationships between hospitals and referring physicians present a risk to federal

27   healthcare programs and program beneficiaries due to questionable or improper utilization of

28


     Case No. 14-cv-04100 KAW                    24
                                     THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 25 of 84



 1   designated health services. Government Payers would not and could not legally pay for any

 2   designated health service provided in violation of the Stark Law. 42 U.S.C. §§ 1395nn(g)(1),

 3   1396b(s).

 4    X.    FEDERAL ANTI-KICKBACK STATUTE
 5          89.     The AKS makes it a crime to knowingly and willfully offer, pay, solicit or receive any

 6   remuneration to induce a person:

 7          (1) to refer an individual to a person for the furnishing of any item or service covered under a

 8          federal health care program; or

 9          (2) to purchase, lease, order, arrange for or recommend any good, facility, service, or item
10          covered under a federal health care program.
11   42 U.S.C. § 1320a-7b(b)(1)–(2). The term “any remuneration” encompasses any kickback, bribe, or
12   rebate, direct or indirect, overt or covert, cash or in kind. 42 U.S.C. § 1320a-7b(b)(1).
13          90.     The AKS “address[es] Congress’ concern that health care decision-making can be
14   unduly influenced by a profit motive.” Medicare and Medicaid Programs; Physicians’ Referrals to
15   Health Care Entities With Which They Have Financial Relationships, 63 Fed. Reg. 1659, 1662 (Jan.
16   9, 1998).
17          91.     Any claim for reimbursement submitted to a Government Health Care Program for
18   items or services that resulted from a violation of the AKS constitutes a “false or fraudulent claim”
19   under the FCA. Patient Protection and Affordable Care Act, Pub. L. No. 111-148, § 6402(f)(1), 124

20   Stat. 119 (2010), adding 42 U.S.C. § 1320a-7b(g); see also McNutt ex rel. U.S. v. Haleyville Med.
21   Supplies, Inc., 423 F.3d 1256, 1260 (11th Cir. 2005).
22          92.     The AKS covers any arrangement where one purpose of the remuneration is to obtain
23   money for the referral of services or to induce further referrals. United States v. Kats, 871 F.2d 105
24   (9th Cir. 1989); United States v. Greber, 760 F.2d 68 (3d Cir. 1985), cert. denied, 474 U.S. 988
25   (1985); United States v. McClatchey, 217 F.3d 823, 835 (10th Cir. 2000); United States v. Davis,

26   132 F.3d 1092, 1094 (5th Cir. 1998). The AKS is “violated, even if the payments were also intended

27   to compensate for professional services.” United States v. Borrasi, 639 F.3d 774, 782 (7th Cir. 2011),

28   quoting Greber, 760 F.2d at 72.


     Case No. 14-cv-04100 KAW                      25
                                       THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 26 of 84



 1           93.      The Patient Protection and Affordable Care Act of 2010 clarified the intent

 2   requirement of the AKS by adding a provision stating that actual knowledge of an AKS violation or

 3   the specific intent to commit a violation of the AKS is not necessary for conviction under the statute.

 4   Patient Protection and Affordable Care Act, Pub. L. No. 111-148, § 6402(f)(2), 124 Stat. 119 (2010).

 5   The AKS now expressly provides: “With respect to violations of this section, a person need not have

 6   actual knowledge of this section or specific intent to commit a violation of this section.” 42 U.S.C. §

 7   1320a-7b(h).

 8           94.     HHS has published safe harbor regulations that define practices not subject to the anti-

 9   kickback statute because such practices would be unlikely to result in fraud or abuse. See 42 C.F.R.
10   §1001.952 (2019). The safe harbors set forth specific conditions that, if met, assure entities involved
11   of not being prosecuted or sanctioned for the arrangement qualifying for the safe harbor. However,
12   safe harbor protection is only afforded to those arrangements that precisely meet all of the conditions
13   set forth in the safe harbor.
14           95.     The interplay between the AKS and the Stark Statute has been summarized as follows:
15           Both the anti-kickback statute and [Stark] address Congress' concern that health care
             decisionmaking can be unduly influenced by a profit motive. When physicians have a
16           financial incentive to refer, this incentive can affect utilization, patient choice, and
             competition. Physicians can overutilize by ordering items and services for patients that, absent
17           a profit motive, they would not have ordered. A patient's choice can be affected when
             physicians steer patients to less convenient, lower quality, or more expensive providers of
18           health care, just because the physicians are sharing profits with, or receiving remuneration
             from, the providers. And lastly, where referrals are controlled by those sharing profits or
19           receiving remuneration, the medical marketplace suffers since new competitors can no longer
             win business with superior quality, service, or price. Although the purposes behind the anti-
20           kickback statute and [Stark] are similar, it is important to analyze them separately. In other
             words, to operate lawfully under Medicare and Medicaid, one must comply with both statutes.
21
     Medicare and Medicaid Programs; Physicians’ Referrals to Health Care Entities With Which They
22
     Have Financial Relationships, 63 Fed. Reg. 1659, 1662 (Jan. 9, 1998).
23
             96.     Compliance with AKS is material to Medicare’s and Medicaid’s payment decisions
24
     because kickbacks are statutorily prohibited in order to protect the integrity of federal healthcare
25
     programs and AKS-tainted claims are statutorily designated as false claims under FCA. See 42 U.S.C.
26
     § 1320a-7b; Social Security Amendments of 1972, Pub. L. No. 92-603, § 242(b)-(c), 86 Stat. 1329,
27
     1419-20; Medicare-Medicaid Antifraud and Abuse Amendments, Pub. L. No. 95-142, 91 Stat. 1175
28


     Case No. 14-cv-04100 KAW                      26
                                       THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 27 of 84



 1   (1977); Medicare and Medicaid Patient and Program Protection Act of 1987, Pub. L. No. 100-93, 101

 2   Stat 680; Patient Protection and Affordable Care Act, Pub. L. No. 111-148, § 6402(f)(1), 124 Stat.

 3   119 (2010), adding 42 U.S.C. § 1320a-7b(g).

 4   XI.    SUTTER HEALTH’S CONTROL OF THE OTHER SUTTER ENTITIES
 5          97.     SUTTER HEALTH controls and directs the operations of its subsidiaries and affiliates

 6   including Defendants SUTTER VALLEY HOSPITALS, SUTTER VALLEY MEDICAL

 7   FOUNDATION, and SUTTER BAY HOSPITALS. Specifically, for example, Relator was employed

 8   by SUTTER VALLEY HOSPITALS as the Compliance Officer of Sutter Medical Center but reported

 9   directly to the chief compliance officer at SUTTER HEALTH, a position occupied Steve Ortquist and
10   then by Ginger Chappel, during Relator’s tenure with SUTTER HEALTH. The Chief Compliance
11   officer at SUTTER HEALTH reported to the general counsel for SUTTER HEALTH, a position
12   occupied by Flo DiBenedetto during Relator’s tenure with SUTTER. All physician contracts between
13   a SUTTER HEALTH subsidiary hospital and a PHYSICIAN ENTITY went through the SUTTER
14   HEALTH Legal Department and the SUTTER HEALTH Compliance Department, with support from
15   SUTTER HEALTH-employed attorneys assigned to the various subsidiary hospitals and the
16   compliance officers such as Relator at each such hospital.
17          98.     In addition to the reporting structures up through the SUTTER HEALTH Compliance
18   and Legal Departments from the subsidiary hospitals, SUTTER HEALTH also exerts control over
19   the   operations   of   SUTTER     VALLEY       HOSPITALS,     SUTTER      VALLEY      MEDICAL

20   FOUNDATION, and SUTTER BAY HOSPITALS, through overlapping corporate governance
21   boards and executive officers. For example, during the calendar years 2010-2014, SUTTER
22   HEALTH’s Chief Executive Officer, Patrick Fry, was a member of the Board of Trustees of SUTTER
23   VALLEY HOSPITALS f/k/a Sutter Health Sacramento Sierra Region, a member of the Board of
24   Directors of SUTTER VALLEY HOSPITALS f/k/a Sutter Central Valley Hospitals, and a member
25   of the Board of Trustees of SUTTER BAY HOSPITALS f/k/a Sutter East Bay Hospitals. He was also

26   a member of the Board of Trustees of SUTTER VALLEY MEDICAL FOUNDATION, f/k/a Sutter

27   Gould Medical Foundation during the calendar years 2011-2014.

28


     Case No. 14-cv-04100 KAW                     27
                                      THIRD AMENDED COMPLAINT
              Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 28 of 84



 1            99.     SUTTER HEALTH and its subsidiaries and affiliates report consolidated financial

 2   statements. Note 1 to SUTTER HEALTH’s 2020 Consolidated Audited Financial Statements

 3   (Exhibit 41, p. 7) declares:
 4            Sutter Health is a California not-for-profit multi-provider integrated health care delivery

 5            system headquartered in Sacramento, California, which includes a centralized support

 6            group and various health care-related businesses operating primarily in Northern

 7            California. Sutter Health and its affiliates and subsidiaries provide health care, education,

 8            research and administrative services.

 9   SUTTER HEALTH’s website advertises SUTTER HEALTH, the hospitals owned by SUTTER
10   VALLEY HOSPITALS and SUTTER BAY HOSPITALS, and the medical foundations including
11   SUTTER VALLEY MEDICAL FOUNDATION f/k/a Sutter Gould Medical Foundation as being part
12   of “Our Integrated Network.” 3 SUTTER HEALTH and its subsidiaries and affiliates have integrated
13   and commingled business operations, including that SUTTER HEALTH’s executives and directors

14   control the financial and compliance operations of the subsidiaries and affiliates.

15            100.    In addition, Defendants SUTTER VALLEY HOSPITALS, SUTTER VALLEY

16   MEDICAL FOUNDATION, and SUTTER BAY HOSPITALS co-mingled funds with the parent

17   entity SUTTER HEALTH so that SUTTER HEALTH possesses the spoils of the fraudulent acts that

18   it directed. SUTTER HEALTH’s Shared Services department held short-term investments totaling

19   $5,441,000,000 as of December 31, 2020, accumulated from SUTTER HEALTH’s subsidiaries and

20   affiliates, including Defendants SUTTER VALLEY HOSPITALS, SUTTER VALLEY MEDICAL
21   FOUNDATION, and SUTTER BAY HOSPITALS. Exhibit 41, p. 53.
22            101.    With regard to compliance, in 1996, SUTTER HEALTH adopted a system-wide
23   compliance policy purportedly “to maintain ethical business practices and to comply with all rules
24   and regulations with regard to our business.” SUTTER HEALTH directed that all SUTTER
25   HEALTH affiliates, including what are now SUTTER VALLEY HOSPITALS, SUTTER VALLEY

26   MEDICAL FOUNDATION and SUTTER BAY HOSPITALS, comply with this purported

27

28   3
         https://www.sutterhealth.org/about/what-is-sutter-health (last viewed December 2, 2021).

     Case No. 14-cv-04100 KAW                       28
                                        THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 29 of 84



 1   compliance policy. As part of this policy, SUTTER HEALTH purported to adopt a Compliance

 2   Program to deter and detect noncompliance with rules and regulations that govern SUTTER

 3   HEALTH’S business.       The board of directors of SUTTER HEALTH designated operational

 4   responsibility for the Compliance Program to the SUTTER HEALTH President and CEO, with the

 5   SUTTER HEALTH Board maintaining oversight of the Program through the Board’s Governance

 6   Committee. Further, the SUTTER HEALTH President and CEO was directed to appoint a Chief Risk

 7   Officer for SUTTER HEALTH who would oversee the Compliance Program and insure compliance

 8   by all the affiliates. Each affiliate hospital was directed to adopt by-laws to ensure compliance with

 9   the SUTTER HEALTH Compliance Program and to name that affiliate’s CEO as the Compliance
10   Officer for that affiliate. Each affiliate CEO was to appoint a compliance liaison who would work
11   directly with, and under the supervision of, the SUTTER HEALTH Chief Risk Officer. Each affiliate
12   Compliance Officer was directed to report all compliance matters to the SUTTER HEALTH Chief
13   Risk Officer on a monthly basis.
14          102.    Relator reported to the CEO of SUTTER VALLEY HOSPITALS and to the Chief
15   Compliance Officer of SUTTER HEALTH, Steven Ortquist, who oversaw regulatory compliance for
16   all Sutter hospitals. Ortquist resigned in 2014 because of disagreements with SUTTER HEALTH
17   management over the failure of SUTTER HEALTH to insure that physician compensation complied
18   with the Stark Law and the AKS. Ortquist was replaced by Ginger Chappell. Before his departure,
19   Ortquist told Relator he had been instructed by SUTTER HEALTH that the Compliance Department

20   needed to be more “friendly” to the SUTTER ENTITIES’ administrations, meaning being more
21   lenient in approving physician contracts regardless of their violations of the Stark and AKS laws.
22                  103.   Each Sutter hospital had personnel from the SUTTER HEALTH General
23   Counsel’s Office who were responsible for legal matters for that particular hospital. One such person
24   during Relator’s employment was Penny Westfall, who was regional legal counsel for Sutter Health
25   Sacramento Sierra Region (now SUTTER VALLEY HOSPITALS). Relator was in regular contact

26   with Ms. Westfall concerning audit and compliance matters. Relator was also regularly in contact

27   with Brenna Arceo, who was general counsel for Sutter Medical Center, where Relator was employed.

28   Ms. Arceo reported to Ms. Westfall. Through Relator’s contacts with the General Counsel’s Office,


     Case No. 14-cv-04100 KAW                       29
                                        THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 30 of 84



 1   she learned that that office sought FMV evaluations from third-party evaluators for various physicians

 2   providing services to the Sutter hospitals, but withheld from those evaluators all of the compensation

 3   being paid to those physicians. Thus, even though cumulative compensation, in certain instances,

 4   exceeded fair market value, the evaluators did not consider all the compensation in doing FMV

 5   analyses so that SUTTER HEALTH could get a favorable analysis of the compensation.

 6          104.    Relator worked on a daily basis with the SUTTER HEALTH Compliance Office,

 7   either with Ortquist or Chappell, or with Barbara Martinson, who was the Regional Compliance

 8   Officer at SUTTER HEALTH who oversaw Relator’s facilities and who reported to Ortquist or

 9   Chappell.
10          105.    During the relevant period, all contracts and arrangements with physicians and
11   physician groups, including the contracts at issue here, were approved by SUTTER HEALTH’S legal
12   department, General Counsel’s Office and Compliance Office. No physician contract could be
13   entered into by any of the hospitals without such prior approval. Any audits of compliance with the
14   terms of physician compensation contracts done at the hospital compliance level were reviewed and
15   reacted to by the SUTTER HEALTH Compliance Office and the SUTTER HEALTH General
16   Counsel’s Office.
17          106.    In addition, all budgets for each of the Sutter hospitals were approved by the Chief
18   Financial Officer of SUTTER HEALTH who reported directly to the CEO of SUTTER HEALTH
19   who was, during Relator’s employment, Patrick Fry.

20          107.    SUTTER HEALTH also maintained a Shared Services Department which handled all
21   billing, coding, payroll and payment of vendor expenses for all the Sutter hospitals. All claims for
22   reimbursement to governmental and private payors were handled by SUTTER HEALTH’s Shared
23   Services Department.
24          108.    Each of the specific schemes described below was a part of SUTTER HEALTH’s
25   network-wide scheme to increase profits by inducing referrals from highly productive referring

26   physicians.

27 XII.     THE FRAUD SCHEME
28          A.      Sacramento Cardiovascular Surgeons Medical Group, Inc. (“SAC CARDIO”)


     Case No. 14-cv-04100 KAW                     30
                                      THIRD AMENDED COMPLAINT
              Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 31 of 84



 1                   109.    Beginning July 1, 2006, SUTTER VALLEY HOSPITALS, at the direction of

 2   SUTTER HEALTH, knowingly entered into a series of agreements with Defendant SAC CARDIO

 3   that provided free physician assistants to and for the direct benefit of SAC CARDIO, one purpose of

 4   which was to induce referrals from the SAC CARDIO physicians for inpatient and outpatient hospital

 5   services at SUTTER VALLEY HOSPITALS. The May 1, 2013 version of the agreement for

 6   physician assistants is attached as Exhibit 1 (the “Physician Assistants Agreement”). The May 1,
 7   2011 version of the agreement for physician assistants is attached as Exhibit 2.
 8                   110.    The Physician Assistants Agreement obligated SUTTER VALLEY

 9   HOSPITALS to pay SAC CARDIO for four physician assistants at the rate of $170,000 per full time
10   equivalent, or a total of $680,000 per year. Exhibit 1, ¶1(a). The compensation was payable in
11   monthly installments of $56,666.66 each, subject to submission of monthly time reports. Exhibit 1,
12   ¶3(a).

13                   111.    Physician assistants that were paid for by SUTTER VALLEY HOSPITALS

14   under the Physician Assistants Agreement include (without limitation): Christopher J. Davis, Alan J.

15   Fribourg, Mark B. Jones, and Teresa E. North (the “SAC CARDIO Physician Assistants”).

16                   112.    The three referring physicians illegally benefiting from the payments made by

17   SUTTER VALLEY HOSPITALS, at the direction of SUTTER HEALTH, under the Physician

18   Assistants Agreement for the free physician assistants are: Dr. Michael T. Ingram, Dr. Robert

19   Kincade and Dr. James Longoria (the “SAC CARDIO Physicians”). The SAC CARDIO Physicians

20   each held an ownership interest in SAC CARDIO as a shareholder.
21                   113.    The Physician Assistants Agreement expressly provides:
22            c.      No Billing to Patients or Other Payors. The parties anticipate that the
              services to be provided by the Assistants are not chargeable to patients or third party
23            payors. In the event Group and Hospital determine that some or all of Assistants services
              are billable to third party payors, the parties shall meet and confer as to what
24            compensation adjustments may be warranted to assure that patients and/or third party
              payors are not billed for services that are paid for by Hospital pursuant to this Agreement.
25

26   Exhibit 1, ¶3(c); Exhibit 2, ¶3(c).
27

28


     Case No. 14-cv-04100 KAW                      31
                                       THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 32 of 84



 1                  114.    Despite the contractual provision to the contrary, SAC CARDIO did in fact

 2   intentionally, illegally and systematically bill third party payers, including Medicare, for some of the

 3   SAC CARDIO Physician Assistants’ services, with the payments on such claims accruing to the

 4   benefit of SAC CARDIO and thereby indirectly benefiting the SAC CARDIO Physicians. See

 5   Exhibit 3 for 2012 Medicare payments for SAC CARDIO Physician Assistants’ services paid to SAC
 6   CARDIO.

 7                  115.    SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction

 8   of SUTTER HEALTH, intended to induce referrals and reward SAC CARDIO for its high-volume

 9   referrals with the preferential Physician Assistants Agreement. That conduct violated AKS.
10                  116.    Additionally, beginning October 1, 2006, SUTTER VALLEY HOSPITALS,
11   at the direction of SUTTER HEALTH, knowingly entered into a series of three stacked Medical
12   Director Agreements with SAC CARDIO that paid SAC CARDIO up to a total of $318,264 annually
13   for services allegedly performed by each of the SAC CARDIO Physicians as the “Medical Director”
14   of various services lines.
15                  117.    Dr. Michael T. Ingram is the Medical Director of the Cardiac Intensive Care

16   Unit and the Assistant Medical Director of the Sutter Heart Institute. Under the September 1, 2012

17   version of the MDA, SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction

18   of SUTTER HEALTH, repeatedly paid SAC CARDIO for Dr. Ingram’s services as Medical Director

19   at the hourly rate of $330.55 for an average of 40 hours per month, or a total of $158,664 per year.

20   Exhibits 4 and 5. The compensation was payable in monthly installments, subject to submission of
21   monthly time reports. Exhibit 5, ¶3(a). Under the September 1, 2010 version of the MDA, SUTTER
22   VALLEY HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH,

23   repeatedly paid SAC CARDIO for Dr. Ingram’s services as Medical Director at the hourly rate of

24   $350.00 for a minimum average of 17 hours per month, or a total of $71,400 per year. Exhibit 6.
25   SAC CARDIO submitted monthly time reports to SUTTER VALLEY HOSPITALS claiming the

26   hours required under Dr. Ingram’s Medical Director Agreements and SUTTER VALLEY

27   HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH, paid SAC CARDIO

28   at the rates set forth in the agreements. Exhibit 7.


     Case No. 14-cv-04100 KAW                      32
                                       THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 33 of 84



 1                  118.   Dr. Robert Kincade is the Medical Director of the Transplant Ventricular

 2   Assist Device Program. Under the September 1, 2012 version of the MDA, SUTTER VALLEY

 3   HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH, repeatedly paid

 4   SAC CARDIO for Dr. Kincade’s services as Medical Director at the hourly rate of $332.50 for a

 5   minimum average of 20 hours per month, or a total of $79,800 per year. Exhibit 8. The compensation
 6   was payable in monthly installments, subject to submission of monthly time reports. Exhibit 8, ¶3(a).
 7   Under the September 1, 2010 version of the MDA, SUTTER VALLEY HOSPITALS, with the

 8   knowledge of and at the direction of SUTTER HEALTH, repeatedly paid SAC CARDIO for Dr.

 9   Kincade’s services as Medical Director at the hourly rate of $350.00 for a minimum average of 19
10   hours per month, or a total of $79,800 per year. Exhibit 9. SAC CARDIO submitted monthly time
11   reports to SUTTER VALLEY HOSPITALS claiming the hours required under Dr. Kincade’s Medical

12   Director Agreements and SUTTER VALLEY HOSPITALS, with the knowledge of and at the

13   direction of SUTTER HEALTH, paid SAC CARDIO at the rates set forth in the agreements. Exhibit
14   10.
15                  119.   Dr. James Longoria is the Medical Director of the Surgical Ablation Program.

16   Under the September 1, 2012 version of the MDA, SUTTER VALLEY HOSPITALS, with the

17   knowledge of and at the direction of SUTTER HEALTH, repeatedly paid SAC CARDIO for Dr.

18   Longoria’s services as Medical Director at the hourly rate of $332.50 for a maximum of 20 hours per

19   month, or a total of $79,800 per year. Exhibit 11. The compensation was payable in monthly
20   installments, subject to submission of monthly time reports. Exhibit 11, ¶3(a). Under the September
21   1, 2010 version of the MDA, SUTTER VALLEY HOSPITALS, with the knowledge of and at the

22   direction of SUTTER HEALTH, repeatedly paid SAC CARDIO for Dr. Longoria’s services as

23   Medical Director at the hourly rate of $350.00 for a maximum average of 19 hours per month, or a

24   total of $79,800 per year. Exhibit 12. SAC CARDIO submitted monthly time reports to SUTTER
25   VALLEY HOSPITALS claiming the hours required under Dr. Longoria’s Medical Director

26   Agreements and SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction of

27   SUTTER HEALTH, paid SAC CARDIO at the rates set forth in the agreements. Exhibit 13.
28


     Case No. 14-cv-04100 KAW                    33
                                     THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 34 of 84



 1                   120.   The compensation paid by SUTTER VALLEY HOSPITALS, at the direction

 2   of SUTTER HEALTH, to SAC CARDIO under the Medical Director Agreements for the services of

 3   Dr. Ingram, Dr. Kincade and Dr. Longoria, all of whom held ownership interests in SAC CARDIO

 4   as shareholders during all times relevant hereto, exceeded the fair market value of the services actually

 5   rendered by SAC CARDIO. The compensation arrangements were commercially unreasonable

 6   because the aggregate services contracted for exceeded those that were reasonable and necessary for

 7   the legitimate business purposes of the arrangements.

 8                   121.   SUTTER VALLEY HOSPITALS and SUTTER HEALTH knowingly

 9   intended to induce referrals and reward SAC CARDIO and its individual owner physicians for its
10   high-volume referrals with the lucrative and duplicative Medical Director Agreements. That conduct
11   violated AKS.
12                   122.   Also, beginning July 1, 2008, SUTTER VALLEY HOSPITALS, with the

13   knowledge of and at the direction of SUTTER HEALTH, knowingly entered into a series of Call

14   Coverage Agreements with SAC CARDIO that repeatedly paid SAC CARDIO up to a total of

15   $912,500 annually. The purpose of the Call Coverage Agreements was ostensibly to assure the

16   availability of cardiovascular surgeons to provide emergency services on a 24-hour basis. See

17   Exhibits 14, 15 and 16.
18                   123.   The rate for call coverage paid by SUTTER VALLEY HOSPITALS, with the

19   knowledge of and at the direction of SUTTER HEALTH, to SAC CARDIO jumped more than 200
20   percent from $1,140 per 24-hour shift in the 2008 Call Coverage Agreement (Exhibit 14) to $2,500
21   per 24-hour shift in the 2010 Call Coverage Agreement (Exhibit 15), and remained at $2,500 per 24-
22   hour shift in the 2012 Call Coverage Agreement (Exhibit 16). The rate of $2,500 per 24-hour shift
23   exceeds fair market value and exceeds the rates paid by SUTTER VALLEY HOSPITALS, SUTTER

24   BAY HOSPITALS and other subsidiaries and affiliates of SUTTER HEALTH to other similar

25   cardiovascular surgeons for call coverage during the same timeframes.

26                   124.   Although not stated in the Call Coverage Agreements, SUTTER VALLEY

27   HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH, repeatedly paid call

28   coverage for cardiovascular surgeons in the Sacramento area exclusively to SAC CARDIO, to the


     Case No. 14-cv-04100 KAW                      34
                                       THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 35 of 84



 1   exclusion of all other cardiovascular surgeons who are members of the medical staff at Sutter

 2   Memorial Center, Sacramento. As an intended result, SUTTER VALLEY HOSPITALS, with the

 3   knowledge of and at the direction of SUTTER HEALTH, repeatedly paid SAC CARDIO at the rate

 4   of $2,500 per shift for all 365 days of the calendar year. See Exhibit 17 for an example of July 2013
 5   call coverage payment.

 6                  125.    SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction

 7   of SUTTER HEALTH, used improperly structured payments for on-call coverage to disguise

 8   unlawful remuneration. HHS-OIG has articulated and recognized that payments by hospitals for on-

 9   call coverage can be misused to entice physicians to join or remain on the hospital’s staff or to
10   generate additional business for the hospital. See OIG Advisory Opinion 12-15, p. 7 (issued October
11   23, 2012, corrected March 8, 2013). 4 The exclusive arrangement used by SUTTER VALLEY
12   HOSPITALS selectively, intentionally and excessively rewarded SAC CARDIO as a high referrer

13   and denied all other specialists with hospital privileges the opportunity to take call coverage. Id., p.

14   10.

15                  126.    SUTTER VALLEY HOSPITALS and SUTTER HEALTH knowingly

16   intended to induce referrals and rewarded SAC CARDIO for its high-volume referrals with the

17   preferential, exclusive, and above-market Call Coverage Agreement. That conduct violated AKS.

18                  127.    The Call Coverage Agreement specifies that SAC CARDIO Physicians may

19   separately bill and collect charges for any professional services rendered, in addition to the $2,500

20   per shift. Exhibit 16, ¶1(h). Essentially, SAC CARDIO was paid twice for professional services
21   rendered under the Call Coverage Agreements.

22                  128.    In addition to the compensation paid to SAC CARDIO under the Physician

23   Assistants Agreement, the Medical Director Agreements and the Call Coverage Agreement, SUTTER

24   VALLEY HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH,

25   repeatedly paid SAC CARDIO for medical services provided by SAC CARDIO to patients pursuant

26   to a Specialty Care Clinician Agreement for each of the SAC CARDIO Physicians. See Exhibit 18
27
     4
28    https://oig.hhs.gov/fraud/docs/advisoryopinions/2012/advopn12-15-mod.pdf (last viewed Apr. 8,
     2021).

     Case No. 14-cv-04100 KAW                     35
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 36 of 84



 1   for an example of the Specialty Care Agreement for Dr. Michael T. Ingram. Defendant SUTTER

 2   VALLEY MEDICAL FOUNDATION was the entity that actually bills Medicare for the services

 3   provided by the SAC CARDIO Physicians. SUTTER VALLEY MEDICAL FOUNDATION in turn

 4   contracted with various medical groups, including Sutter Independent Physicians, to obtain physician

 5   services. SAC CARDIO was a member of Sutter Independent Physicians and received payments for

 6   patient care services from Government Payers through SUTTER VALLEY MEDICAL

 7   FOUNDATION and Sutter Independent Physicians.

 8                  129.   SUTTER VALLEY MEDICAL FOUNDATION, with the knowledge of and

 9   at the direction of SUTTER HEALTH, repeatedly paid SAC CARDIO for patient care services under
10   the Specialty Care Clinician Agreement. In addition, SUTTER VALLEY HOSPITALS, with the
11   knowledge of and at the direction of SUTTER HEALTH, repeatedly paid SAC CARDIO the
12   following annual compensation under the above-referenced agreements:
13                  SAC CARDIO Compensation – Excluding Patient Care Services

14                            Agreement                           Total Annual
                                                                  Compensation
15
                  Physician Assistants Agreement                           $680,000.00
16                Medical Director Agreements                              $318,264.00
                  Call Coverage Agreement                                  $912,500.00
17                TOTAL ANNUAL                                           $1,910,764.00
                  COMPENSATION
18

19
                    130.   By stacking the Physician Assistants Agreement, Medical Director
20
     Agreements and Call Coverage Agreements with aggregate annual compensation that exceeded $1.9
21
     million (excluding patient care services performed by the SAC CARDIO Physicians), SUTTER
22
     VALLEY HOSPITALS knowingly created a financial relationship with the SAC CARDIO
23
     Physicians that was commercially unreasonable, grossly in excess of fair market value, and violative
24
     of the Stark Statute because no exception applied.
25

26

27

28


     Case No. 14-cv-04100 KAW                    36
                                     THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 37 of 84



 1                         1.        SUTTER VALLEY HOSPITALS and SUTTER HEALTH Knew the
 2                                   SAC CARDIO Agreements Were Illegal.
 3                  131.     On November 7, 2013, Brooke Haynes, Contract Specialist in Accounts

 4   Payable, copied Relator, as Compliance Officer of Sutter Medical Center, Sacramento, on an e-mail

 5   sent to Vickie Sexton, Administrative Assistant to Rick Harrell (“Harrell”), the cardiovascular service

 6   line administrator for SUTTER VALLEY HOSPITALS. Ms. Haynes had critically questioned

 7   payments to SAC CARDIO under the Physician Assistants Agreement because the SAC CARDIO

 8   Physician Assistants had not documented the minimum number of hours required under the

 9   agreement, and payment would need to be adjusted for the hours actually documented instead of the
10   full payment for each month in the quarter. Exhibit 19.
11                  132.     Harrell requested that the SAC CARDIO Physician Assistants review and

12   revise their timesheets for missing documentation of the services provided and resubmit the

13   timesheets. On November 25, 2013, Harrell then sent the revised timesheets to the payment approvers

14   in Accounts Payable for payment, without involving Relator as the Compliance Officer even though

15   Relator had asked Harrell to provide her with the revised timesheets before submitting them for

16   payment.

17                  133.     When Relator learned that the revised timesheets had been submitted to the

18   payment approvers in Accounts Payable without her review, Relator requested copies of the revised

19   timesheets for her review. Therein, she discovered that the SAC CARDIO Physician Assistants had

20   billed more than 40 hours for 5 full weeks in each month. She also discovered the timesheets had
21   falsely and fraudulently recorded non-work items, such as vacations, as being time spent at work.
22   After review, Relator concluded that the timesheets contained false information that was not
23   supported by accurate data. As a result of Relator’s review of the fraudulently altered timesheets and
24   after discussion with her superiors, SUTTER VALLEY HOSPITALS placed a hold on payments
25   under the Physician Assistants Agreement beginning with the payment for the month of January 2014

26   pending further investigation.

27                  134.        On February 14, 2014, Relator met with Harrell to discuss her review of the

28   resubmitted timesheets. As a result of the meeting, Harrell requested a third set of timesheets from


     Case No. 14-cv-04100 KAW                        37
                                         THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 38 of 84



 1   the SAC CARDIO Physician Assistants. The third set of timesheets included estimates of additional

 2   duties and hours not historically recorded, such as patient rounding and pre/post procedure time.

 3   Relator questioned why payment for the claimed Physician Assistants’ services was necessary as the

 4   services claimed by the SAC CARDIO Physician Assistants appeared to be compensable duties and

 5   part of the surgical global fee paid to the surgeons. Harrell agreed with Relator that the Physician

 6   Assistants’ services were compensable as part of the surgical global fee. Nevertheless, SUTTER

 7   VALLEY HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH, resumed

 8   the $56,666.66 monthly payments to SAC CARDIO under the Physician Assistants Agreement in

 9   April 2014. SUTTER VALLEY HOSPITALS removed the payment hold even though SUTTER
10   VALLEY HOSPITALS and SUTTER HEALTH actually knew of the fraudulent timesheets.
11                  135.    Relator continued to investigate the billing issues associated with the SAC

12   CARDIO Physician Assistants and discovered that third party payers, including Medicare, were

13   receiving claims for certain services provided by the physician assistants, even though at least in the

14   written words of the Physician Assistants Agreement, SAC CARDIO had purportedly agreed not to

15   bill for such services. In March and April 2014, Relator worked with Malcolm Macleod, a an

16   employee of SUTTER HEALTH’s Shared Services Department to prepare the spreadsheet (Exhibit
17   3) showing that SAC CARDIO could in fact bill under Medicare rules for the work of physician
18   assistants. Relator presented the information about Medicare rules governing billing for physician

19   assistants to her superiors at SUTTER VALLEY HOSPITALS and SUTTER HEALTH.

20                  136.    On or about July 24, 2014, Harrell queried the CMS Physician Payment Data
21   for 2012 and confirmed that SAC CARDIO had billed Medicare for services performed by the SAC
22   CARDIO Physician Assistants which SUTTER VALLEY HOSPITALS funded, in breach of the
23   Physician Assistant Agreement. Harrell reported this information to his superiors at SUTTER
24   VALLEY HOSPITALS and SUTTER HEALTH. SUTTER VALLEY HOSPITALS decided to issue
25   another hold on further payments under the Physician Assistants Agreement pending further

26   investigation. Relator issued the payment hold on the Physician Assistants Agreement by e-mail on

27   Monday, July 28, 2014 at 9:59 a.m. Exhibit 20. SAC CARDIO was being provided free employees
28   and SAC CARDIO was billing Medicare for the (free) Physician Assistants’ services and retaining


     Case No. 14-cv-04100 KAW                     38
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 39 of 84



 1   the payments. This illegal financial benefit to SAC CARDIO allowed them to improperly profit from

 2   these services which were not connected to personally performed physician services.

 3                 137.     Relator also reviewed the timesheets supporting the payments to SAC

 4   CARDIO under the Medical Director Agreements. Relator found duplicative supervision of Dr.

 5   Daren Danielson, a Travis Air Force Base physician who is fully credentialed, and duplicative

 6   supervision of other ICU staff. Relator also found other indications that the timesheets supporting

 7   the payments to SAC CARDIO had been fraudulently prepared, indicating that work had been

 8   performed during times when procedures, in fact, did not take place. On June 19, 2014, after

 9   discussion with Relator’s superiors at SUTTER VALLEY HOSPITALS, Relator issued a hold on
10   further payments under the Medical Director Agreements pending further investigation. Exhibit 21.
11                        2.     SUTTER HEALTH’S CEO Directly Intervened to Resume
12                               SUTTER VALLEY HOSPITALS’ Knowing Payment of Kickbacks
13                               to Induce Referrals.
14                 138.     On Thursday, July 31, 2014, Dr. James Longoria of SAC CARDIO called

15   Carol Spangler, Assistant to Patrick Fry, the President and Chief Executive Officer of SUTTER
16
     HEALTH. Dr. Longoria left a message with Ms. Spangler because Mr. Fry was not in the office. Dr.
17
     Longoria threatened to shut down the Operating Rooms if the payment stop was not lifted.
18
                   139.     Fry intervened on behalf of the physicians because of financial considerations
19
     regarding the high dollar value of referrals by the SAC CARDIO Physicians. On July 31, 2014 Fry
20
21   called Flo Di Benedetto, who was General Counsel of SUTTER HEALTH, at 3:00 a.m. in Europe

22   and ordered her to immediately release the funds to pay SAC CARDIO. Di Benedetto then called
23   Ginger Chappell, who was then Chief Compliance Officer of SUTTER HEALTH, and ordered her to
24
     release the funds. Chappell then directed SUTTER VALLEY HOSPITALS to reverse the hold and
25
     reissue the $56,666.66 payment for June 2014. The payment from SUTTER VALLEY HOSPITALS,
26
     with the knowledge of and at the direction of SUTTER HEALTH, was to subsidize the SAC CARDIO
27

28   Physician Assistants who were billing third party payers, including Medicare, for the benefit of the


     Case No. 14-cv-04100 KAW                     39
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 40 of 84



 1   referring SAC CARDIO Physicians in breach of the Physician Assistants Agreement. One purpose

 2   of reissuing the $56,666.66 payment to SAC CARDIO for June 2014 was to continue to induce future
 3
     referrals to SUTTER VALLEY HOSPITALS’ operating rooms and to maintain the status quo of
 4
     referrals from SAC CARDIO. The direct threat by Dr. Longoria to shut down the operating rooms
 5
     achieved its intended effect: Fry ordered SUTTER VALLEY HOSPITALS to reinstitute full payment
 6
     to SAC CARDIO despite knowing of the illegal billing activities described above.
 7

 8                 140.    Eric Dalton, VP Finance of SUTTER HEALTH’s Sutter Shared Services,

 9   ordered Brooke Haynes in Accounts Payable to reissue the check due on the Physician Assistants

10   Agreement and send it to SAC CARDIO via Federal Express immediately. SUTTER VALLEY

11   HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH, sent the $56,666.66

12   check to SAC CARDIO on July 31, 2014 under Federal Express Tracking Number 770738076893.

13   Exhibit 22.

14                 141.    Rick Harrell, the Cardiovascular Service Line Administrator for SUTTER

15   VALLEY HOSPITALS threatened that whoever ordered the stop payment on the compensation to

16   the SAC CARDIO physicians “was going to pay.”

17                 142.    Relator later learned that attorneys Brenna Arceo and Hillary Isaacson, both

18   employees of SUTTER HEALTH’s General Counsel’s Office were aware before her investigation of

19   the fact that SUTTER HEALTH had paid SAC CARDIO to subsidize the SAC CARDIO physician

20   assistants even though SAC CARDIO was billing for their services. Neither Arceo nor Isaacson took

21   any steps to end these payments.

22                 143.    SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction

23   of SUTTER HEALTH, repeatedly paid SAC CARDIO to subsidize the SAC CARDIO Physician

24   Assistants and allowed SAC CARDIO to bill for their services, compensation that was unrelated to

25   the personally performed services of the SAC CARDIO physicians. As such, SUTTER VALLEY

26   HOSPITALS and SUTTER HEALTH could not reasonably have concluded that the payments under

27   the Physician Assistants Agreement did not violate the Stark Law. SUTTER VALLEY HOSPITALS

28   and SUTTER HEALTH knew the scheme violated the Stark Law and still knowingly made or caused


     Case No. 14-cv-04100 KAW                       40
                                        THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 41 of 84



 1   to be made the payments to SAC CARDIO and submitted or caused to be submitted tainted illegal

 2   claims for reimbursement to Government Payers in violation of the FCA and CFCA.

 3                  144.   Based on the contractual and actual financial relationships between the SAC

 4   CARDIO Physicians and SUTTER VALLEY HOSPITALS, the Stark Statute was violated because

 5   SAC CARDIO and the SAC CARDIO Physicians had direct compensation arrangements with

 6   SUTTER VALLEY HOSPITALS and none of the statutory or regulatory exceptions to the Stark

 7   Statute apply to those arrangements. Each of the compensation arrangements under the Physician

 8   Assistants Agreement, the Medical Director Agreements and the Call Coverage Agreement was a

 9   direct compensation arrangement under the Stark Law because Dr. Ingram, Dr. Kincade and Dr.
10   Longoria (the referring physicians) each stand in the shoes of SAC CARDIO (their physician
11   organization) due to their ownership interests as shareholders, and SUTTER VALLEY HOSPITALS
12   (the entity furnishing DHS), with the knowledge of and at the direction of SUTTER HEALTH,
13   repeatedly paid them directly without an intervening person or entity. 42 C.F.R. § 411.354(c)(1)(i)
14   and (ii) (2019).
15                  145.   SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction
16   of SUTTER HEALTH, repeatedly paid SAC CARDIO to subsidize the SAC CARDIO Physician
17   Assistants and allowed SAC CARDIO to bill for their services, and that one purpose of that
18   arrangement was to induce future referrals to SUTTER VALLEY HOSPITALS. As such, SUTTER
19   VALLEY HOSPITALS and SUTTER HEALTH could not reasonably have concluded that the

20   payments under the Physician Assistants Agreement did not violate the AKS. SUTTER VALLEY
21   HOSPITALS and SUTTER HEALTH each knew it was in violation of the AKS and still SUTTER
22   VALLEY HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH,
23   knowingly continued to submit tainted ineligible claims for reimbursement to Government Payers in
24   violation of the FCA and CFCA.
25                  146.   Based on the contractual and actual financial relationships between the SAC

26   CARDIO Physicians and SUTTER VALLEY HOSPITALS, SUTTER VALLEY HOSPITALS, with

27   the knowledge of and at the direction of SUTTER HEALTH violated the AKS by paying SAC

28   CARDIO remuneration to induce the SAC CARDIO Physicians to refer Government Health Care


     Case No. 14-cv-04100 KAW                     41
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 42 of 84



 1   Programs’ beneficiaries to SUTTER VALLEY HOSPITALS for the furnishing of inpatient and

 2   outpatient hospital services covered by Government Payers and none of the statutory or regulatory

 3   safe harbors to the AKS apply.

 4                        3.     Relator’s Knowledge of SUTTER VALLEY HOSPITALS’ Billing
 5                               Processes and Submission of False Claims to Medicare.
 6                 147.     As the Compliance Officer of Sutter Medical Center, Sacramento, Relator

 7   became deeply familiar with the processes by which SUTTER VALLEY HOSPITALS submits

 8   claims to Government Payers. Throughout her tenure, Relator reviewed actual bills from SUTTER

 9   VALLEY HOSPITALS to Government Payers on a regular basis as part of her compliance reviews
10   of SUTTER VALLEY HOSPITALS’ hospital billing and coding practices and its financial
11   arrangements with physicians. She reviewed and discussed actual claims submitted to Government
12   Payers by SUTTER VALLEY HOSPITALS for hospital services (designated health services)
13   referred to SUTTER VALLEY HOSPITALS by the SAC CARDIO Physicians. Relator worked
14   directly with Malcolm Macleod, the Reimbursement Manager at SUTTER VALLEY MEDICAL
15   FOUNDATION, on investigations of SUTTER VALLEY HOSPITALS’ billings to Government
16   Payers for services involving the SAC CARDIO Physician Assistants. Through that investigation,
17   Relator had direct access to SUTTER VALLEY HOSPITALS’ billing systems and actual claims
18   submitted to Government Payers. She also worked and communicated regularly with compliance
19   officers of other hospitals of SUTTER HEALTH’s subsidiaries and affiliates, including SUTTER

20   BAY HOSPITALS, where similar billing processes were utilized.
21                 148.     As part of her investigation into the SAC CARDIO Physician Assistants

22   compliance problem described in ¶ 135 above, Relator obtained from Mr. Macleod and his staff a

23   spreadsheet summarizing actual patients referred by SAC CARDIO Physicians to SUTTER

24   VALLEY HOSPITALS for inpatient hospital services. Exhibit 23 (patient information redacted).
25   The spreadsheet, which includes Medicare patients, summarizes electronic data in the automated

26   hospital databases that SUTTER VALLEY HOSPITALS used to electronically bill Government

27   Payers. The spreadsheet includes details and information specific to hospital inpatient services

28   provided to actual patients, including Medicare patients, who were referred to SUTTER VALLEY


     Case No. 14-cv-04100 KAW                     42
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 43 of 84



 1   HOSPITALS by the SAC CARDIO Physicians in violation of the Stark Law and AKS, and whose

 2   services SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction of SUTTER

 3   HEALTH, knowingly billed to Medicare. Those bills are false claims to Medicare and provide

 4   representative examples of SUTTER VALLEY HOSPITALS’ submission of false claims to

 5   Government Payers. SUTTER VALLEY HOSPITALS used the same billing process to submit

 6   claims to all Government Payers, not just to Medicare. SUTTER BAY HOSPITALS used the same

 7   billing process as SUTTER VALLEY HOSPITALS to submit claims to all Government Payers.

 8                         4.     SUTTER VALLEY HOSPITALS’ Representative False Claims.
 9                  149.     Representative False Claim #1 - As reflected on Line 2 of Exhibit 23, on
10   December 20, 2013, Dr. Robert Kincade (Surgeon), Dr. Daren Danielson (Assist Surgeon) and Alan

11   Fribourg (Physician Assistant) performed a coronary artery bypass in the operating room at Sutter

12   Medical Center, Sacramento for Redacted Patient Name #1, a Medicare patient. The procedures that

13   Dr. Kincade performed on Redacted Patient Number #1 in connection with the inpatient hospital

14   services that SUTTER VALLEY HOSPITALS billed to Medicare are described by Current

15   Procedural Terminology (“CPT”) code 33510 (Coronary artery bypass, vein only, single coronary

16   venous graft). Relator has direct knowledge that SUTTER VALLEY HOSPITALS submitted an

17   electronic claim for the hospital inpatient services to Medicare for Redacted Patient #1, and that claim

18   was a false claim under the FCA.

19                  150.     Representative False Claim #2 - As reflected on Line 33 of Exhibit 23, on
20   August 20, 2013, Dr. James Longoria (Surgeon), Dr. Robert Kincade (Assist Surgeon) and Chris
21   Davis (Physician Assistant) performed a coronary artery bypass in the operating room at Sutter
22   Medical Center, Sacramento for Redacted Patient Name #2, a Medicare patient. The procedures that
23   Dr. Longoria performed on Redacted Patient Number #2 in connection with the inpatient hospital
24   services that SUTTER VALLEY HOSPITALS billed to Medicare are described by CPT code 33535
25   (Coronary artery bypass, using arterial grafts; 3 coronary arterial grafts).        Relator has direct

26   knowledge that SUTTER VALLEY HOSPITALS submitted an electronic claim for the hospital

27   inpatient services to Medicare for Redacted Patient #2, and that claim was a false claim under the

28   FCA.


     Case No. 14-cv-04100 KAW                     43
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 44 of 84



 1                  151.     Representative False Claim #3 - As reflected on Line 49 of Exhibit 23, on
 2   June 20, 2013, Dr. James Longoria (Surgeon), Dr. Daren Danielson (Assist Surgeon) and Therese

 3   North (Physician Assistant) performed a coronary artery bypass in the operating room at Sutter

 4   Medical Center, Sacramento for Redacted Patient Name #3, a Medicare patient. The procedures that

 5   Dr. Longoria performed on Redacted Patient Number #3 in connection with the inpatient hospital

 6   services that SUTTER VALLEY HOSPITALS billed to Medicare are described by CPT code 33511

 7   (Coronary artery bypass, vein only; 2 coronary venous grafts). Relator has direct knowledge that

 8   SUTTER VALLEY HOSPITALS submitted an electronic claim for the hospital inpatient services to

 9   Medicare for Redacted Patient #3, and that claim was a false claim under the FCA.
10                         5.        Relator’s Knowledge of Physician Referrals.
11                  152.        “Referral,” for purposes of the Stark Law, is defined as “the request or

12   establishment of a plan of care by a physician which includes the provision of designated health

13   services.” 42 U.S.C. § 1395nn(h)(5)(B). The term “designated health services” is defined to include

14   inpatient and outpatient hospital services. 42 U.S.C. § 1395nn(h)(6). The regulations interpreting

15   the statute also broadly define “referral” as, among other things, “a request by a physician that

16   includes the provision of any designated health service for which payment may be made under

17   Medicare, the establishment of a plan of care by a physician that includes the provision of such a

18   designated health service, or the certifying or recertifying of the need for such a designated health

19   service.” 42 C.F.R § 411.351. A referring physician is defined in the same regulation as “a physician

20   who makes a referral as defined in this section or who directs another person or entity to make a
21   referral or who controls referrals made to another person or entity.” Id.
22                  153.        Relator has personal and direct knowledge that on each of Representative False
23   Claims Nos. 1-3, one of the SAC CARDIO Physicians was the referring physician for designated
24   health services provided at SUTTER VALLEY HOSPITALS, as reflected in the electronic claims
25   submitted to Medicare. The physicians identified on Medicare claims are referring physicians as a

26   matter of law. See U.S. ex rel. Kunz v. Halifax Hosp. Med. Ctr., No. 6:09-CV-1002-ORL-31, 2013

27   WL 6017329, at *5 (M.D. Fla. Nov. 13, 2013); U.S. ex rel. Drakeford v. Tuomey Healthcare Sys.,

28   Inc., 675 F.3d 394, 406-07 (4th Cir. 2012); U.S. v. Rogan, 459 F. Supp. 2d 692, 713-714 & n. 11, 722


     Case No. 14-cv-04100 KAW                         44
                                          THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 45 of 84



 1   (N.D. Ill. 2006), aff’d 517 F.3d 449 (7th Cir. 2008); U.S. ex rel. Singh v. Bradford Reg. Med. Center,

 2   752 F. Supp. 2d 602, 639-40 (W.D. Pa. 2010). See also 42 U.S.C. § 1395l(q) (“Each request for

 3   payment, or bill submitted, for an item or service furnished by an entity for which payment may be

 4   made under this part and for which the entity knows or has reason to believe there has been a referral

 5   by a referring physician (within the meaning of section 1395nn of this title) shall include the name

 6   and unique physician identification number for the referring physician.”).

 7                  154.     In addition, Exhibit 23 relating to Representative False Claims Nos. 1–3 shows
 8   one of the SAC CARDIO Physicians as the “Surgeon” personally performing professional services

 9   relating to the facility fees that SUTTER VALLEY HOSPITALS billed to Medicare. When a
10   physician personally performs a service, the resulting hospital facility fee is a referral as a matter of
11   law for Stark Law purposes. Tuomey Healthcare Sys., Inc., 675 F.3d at 407. This evidence of
12   referrals is determinative as a matter of law.
13                         6.     SAC CARDIO’s Representative False Claims.
14                  155.     Exhibit 23 shows an SAC CARDIO Physician was the surgeon personally
15   performing professional services described by CPT codes 33510, 33535 and 33511, respectively.

16   SAC CARDIO submitted claims to Medicare for its physicians’ services using those CPT codes.

17   These physician services provided to Medicare patients are separate and apart from SUTTER

18   VALLEY HOSPITALS’ claims for its hospital services (facility fees) rendered to these patients.

19                  156.     With each claim for physician services that SAC CARDIO electronically

20   submitted to Medicare relating to Representative False Claims Nos. 1-3, SAC CARDIO electronically
21   signed the claim and thereby certified as follows:
22          this claim, whether submitted by me or on my behalf by my designated billing company,
            complies with all applicable Medicare and/or Medicaid laws, regulations, and program
23          instructions for payment including but not limited to the Federal anti-kickback statute and
            Physician Self-Referral law (commonly known as Stark law).
24

25                  157.    SAC CARDIO knew that these certifications were false because it knew its

26   financial arrangements with SUTTER VALLEY HOSPITALS violated the Stark Law and AKS.

27   SAC CARDIO’s false certifications are material to Medicare’s decision to pay SAC CARDIO’s

28   claims for professional fees (as well as SUTTER VALLEY HOSPITALS’ claims for facility fees)


     Case No. 14-cv-04100 KAW                      45
                                       THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 46 of 84



 1   because Medicare is statutorily prohibited from paying claims for services referred in violation of the

 2   Stark Law and AKS-tainted claims are false claims under FCA. 42 U.S.C. §§ 1395nn(a)(1)(B),

 3   1320a-7b(g). Thus, Medicare would not have paid SAC CARDIO’s claims for professional fees (or

 4   SUTTER VALLEY HOSPITALS’ claims for facility fees) if Medicare had known the SAC CARDIO

 5   certifications were false.

 6                         7.     Partial Recoveries from SUTTER HEALTH, SUTTER VALLEY
 7                                HOSPITALS and SAC CARDIO.
 8                  158.     In October 2019, SUTTER HEALTH and SUTTER VALLEY HOSPITALS,

 9   agreed to pay the United States $30,500,000 as a partial settlement and restitution for SUTTER
10   VALLEY HOSPITALS’ submission of claims to the Medicare program resulting from referrals by
11   the SAC CARDIO Physicians, which claims the United States contended violated the Stark Law,
12   during the period from September 1, 2012, through September 30, 2014 (the “United States Covered
13   Conduct”). Dkt. 103-1. This Settlement Agreement (Dkt. 103-2) was signed by Florence L. Di
14   Benedetto, on behalf of SUTTER HEALTH as Senior Vice President and General Counsel, and on
15   behalf of SUTTER VALLEY HOSPITALS as Authorized Agent. The United States agreed on a
16   limited release of SUTTER HEALTH and SUTTER VALLEY HOSPITALS from any civil monetary
17   claim the United States has for the United States Covered Conduct under the common law theories
18   of payment by mistake and unjust enrichment. The United States did not release SUTTER HEALTH
19   or SUTTER VALLEY HOSPITALS for any other claims relating to the United States Covered

20   Conduct, including claims under the FCA. Relator agreed to a limited release of SUTTER HEALTH
21   and SUTTER VALLEY HOSPITALS from any claims relating to SUTTER VALLEY HOSPITALS’
22   submission of claims to federal healthcare programs, resulting from referrals by the SAC CARDIO
23   Physicians, which claims violated or resulted from violations of the Stark Law or AKS during only
24   the period from September 1, 2012, through September 30, 2014 (“Relator Covered Conduct”).
25   Relator did not release SUTTER HEALTH or SUTTER VALLEY HOSPITALS for any claims other

26   than the Relator Covered Conduct, and expressly reserved Relator’s claims for expenses, attorney’s

27   fees and costs pursuant to 31 U.S.C. §3730(d) for all claims relating to the Relator Covered Conduct.

28   The United States and Relator filed a Joint Stipulation of Partial Dismissal (Dkt. 44) with respect to


     Case No. 14-cv-04100 KAW                     46
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 47 of 84



 1   the Relator Covered Conduct consistent with the terms of the partial settlement with SUTTER

 2   HEALTH and SUTTER VALLEY HOSPITALS.

 3                  159.    In October 2019, SAC CARDIO agreed to pay the United States $506,000, of

 4   which $340,000 was identified as restitution, as a partial settlement for SAC CARDIO’s billing of

 5   Medicare, from May 1, 2011, through September 30, 2014, for services provided at SUTTER

 6   VALLEY HOSPITALS by physician assistants whose services SAC CARDIO was leasing to

 7   SUTTER VALLEY HOSPITALS (“SAC CARDIO Covered Conduct”). Dkt. 103-2. The United

 8   States agreed to a limited release of SAC CARDIO from any civil or administrative monetary claim

 9   the United States has for the SAC CARDIO Covered Conduct under the FCA; the Civil Monetary
10   Penalties Law, 42 U.S.C. § 1320a-7a; the Program Fraud Civil Remedies Act, 31 U.S.C. §§ 3801-
11   3812; or the common law theories of payment by mistake, unjust enrichment, and fraud related to the
12   SAC CARDIO Covered Conduct. The United States did not release SAC CARDIO for any claims
13   outside of the period from May 1, 2011, through September 30, 2014. Relator agreed to a limited
14   release of SAC CARDIO from any claims relating to the SAC CARDIO Covered Conduct for the
15   limited time period. Relator did not release SAC CARDIO for any claims other than the SAC
16   CARDIO Covered Conduct, and expressly reserved Relator’s claims for expenses, attorney’s fees
17   and costs pursuant to 31 U.S.C. §3730(d) for all claims relating to the SAC CARDIO Covered
18   Conduct. The United States and Relator filed a Joint Stipulation of Further Partial Dismissal (Dkt.
19   45) with respect to the SAC CARDIO Covered Conduct consistent with the terms of the partial

20   settlement with SAC CARDIO.
21                  160.    On October 31, 2019, the United States and the State of California notified the
22   Court that the United States elected to partially intervene and settle only a part of the case, and the
23   United States and California elected to allow the Relator to go forward with the rest of the case on
24   behalf of the taxpayers of the United States and the State of California (Dkt. 43). The Relator is
25   proceeding in the name of the United States and the State of California on all claims not released in

26   the partial settlements.

27   ///

28   ///


     Case No. 14-cv-04100 KAW                     47
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 48 of 84



 1                        8.    SUTTER       HEALTH      and    SUTTER      VALLEY       HOSPITALS
 2                              Knowingly Retained Overpayments.
 3                 161.     SUTTER HEALTH and SUTTER VALLEY HOSPITALS each knows that it

 4   had a legal obligation to refund more than $30.5 million in partial settlement payments covering

 5   (only) the period from September 1, 2012, through September 30, 2014. In addition, SUTTER

 6   HEALTH and SUTTER VALLEY HOSPITALS each knowingly avoided its obligation to refund to

 7   the United States and the State of California overpayments received from false claims on Stark-

 8   prohibited and AKS-tainted referrals by the SAC CARDIO Physicians for periods before September

 9   1, 2012 and after September 30, 2014.
10                 162.           In addition, SUTTER VALLEY HOSPITALS co-mingled funds with

11   the parent entity SUTTER HEALTH so that SUTTER HEALTH possesses the spoils of the fraudulent

12   acts relating to SAC CARDIO that it directed. SUTTER HEALTH’s Shared Services department held

13   Short-term investments totaling $5,441,000,000 as of December 31, 2020, accumulated from

14   SUTTER HEALTH’s subsidiaries and affiliates, including SUTTER VALLEY HOSPITALS.

15   Exhibit 41, p. 53. SUTTER HEALTH must be held financially accountable for its own fraudulent
16   acts and for directing the fraudulent acts of SUTTER VALLEY HOSPITALS relating to SAC

17   CARDIO.

18          B.     Dr. David K. Roberts
19                 163.     SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction

20   of SUTTER HEALTH, repeatedly paid hundreds of thousands of dollars per year to cardiovascular
21   surgeon, Dr. David K. Roberts. Under the May 1, 2014 version of the MDA, with the knowledge of
22   and at the direction of SUTTER HEALTH, SUTTER VALLEY HOSPITALS repeatedly paid
23   Defendant SUTTER VALLEY MEDICAL FOUNDATION, which contracted with Defendant
24   SUTTER MEDICAL GROUP for Dr. Roberts’ services as Regional Medical Director at the hourly
25   rate of $270.00 for an average of 121 hours per month, or a total of $392,040.00 per year. Exhibit
26   24. The compensation was payable in monthly installments, subject to submission of monthly time
27   reports. Exhibit 24, ¶3(a). Under the March 1, 2013 version of the MDA, with the knowledge of and
28   at the direction of SUTTER HEALTH, SUTTER VALLEY HOSPITALS repeatedly paid Defendant


     Case No. 14-cv-04100 KAW                   48
                                    THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 49 of 84



 1   SUTTER VALLEY MEDICAL FOUNDATION, which contracted with Defendant SUTTER

 2   MEDICAL GROUP for Dr. Roberts’ services as Regional Medical Director at the hourly rate of

 3   $296.00 for a minimum average of 87 hours per month, or a total of $309,024 per year. Exhibit 25.
 4   Dr. Roberts submitted monthly time reports to SUTTER VALLEY HOSPITALS claiming the hours

 5   required under Dr. Roberts’ Medical Director Agreements and SUTTER VALLEY HOSPITALS,

 6   with the knowledge of and at the direction of SUTTER HEALTH, repeatedly paid SUTTER

 7   VALLEY MEDICAL FOUNDATION at the rates set forth in the agreements. Exhibit 26.
 8                  164.    Relator reviewed the time reports that Dr. Roberts submitted to SUTTER

 9   VALLEY HOSPITALS under the Medical Director Agreements. Dr. Roberts claimed over 130 hours
10   of medical director services in each month during the period from December 2013 through June 2014.
11                  165.    Dr. Roberts’ Medical Director Agreement specifies that Dr. Roberts,

12   Defendant SUTTER VALLEY MEDICAL FOUNDATION and Defendant SUTTER MEDICAL

13   GROUP shall not bill or assert any claim for payment against any patient or payer for services

14   performed by Dr. Roberts under the Medical Director Agreements. Exhibit 24, ¶3(c); Exhibit 25,
15   ¶3(d). Nonetheless, Dr. Roberts maintained a busy medical practice, billing Medicare hundreds of

16   thousands of dollars during the period from 2013-2015. He could not have done all of that work if he

17   also actually worked all the hours that he claimed to be performing medical director services under

18   the sham agreements.

19                  166.    The compensation paid by SUTTER VALLEY HOSPITALS, with the

20   knowledge of and at the direction of SUTTER HEALTH, to SUTTER VALLEY MEDICAL
21   FOUNDATION under the Medical Director Agreements for the services of Dr. Roberts exceeded the
22   fair market value of the services actually rendered by SUTTER VALLEY MEDICAL
23   FOUNDATION and the compensation arrangements were commercially unreasonable because the
24   aggregate services contracted for exceeded those that were reasonable and necessary for the legitimate
25   business purposes of the arrangements.

26                  167.    SUTTER VALLEY HOSPITALS, SUTTER HEALTH and SUTTER

27   VALLEY MEDICAL FOUNDATION intended to induce referrals to SUTTER VALLEY

28


     Case No. 14-cv-04100 KAW                     49
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 50 of 84



 1   HOSPITALS and rewarded Dr. Roberts for his referrals by paying excessive and commercially

 2   unreasonable compensation for Dr. Roberts’ medical director services. That conduct violates AKS.

 3                  168.   SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction

 4   of SUTTER HEALTH, repeatedly paid SUTTER VALLEY MEDICAL FOUNDATION excessive

 5   amounts for Dr. Roberts’ medical directorship, one purpose of which was to induce referrals to

 6   SUTTER VALLEY HOSPITALS by Dr. Roberts. As such, SUTTER VALLEY HOSPITALS,

 7   SUTTER VALLEY MEDICAL FOUNDATION and SUTTER HEALTH could not reasonably have

 8   concluded that the payments under Dr. Roberts’ Medical Director Agreements did not violate the

 9   AKS. SUTTER VALLEY HOSPITALS, SUTTER VALLEY MEDICAL FOUNDATION and
10   SUTTER HEALTH each knew it was in violation of the AKS and still SUTTER VALLEY
11   HOSPITALS, at the direction of SUTTER HEALTH, knowingly submitted tainted illegal claims for
12   reimbursement to Government Payers in violation of the FCA and CFCA.
13                  169.   Based on the contractual and actual financial relationships between SUTTER
14   VALLEY MEDICAL FOUNDATION and SUTTER VALLEY HOSPITALS, the AKS was violated
15   because SUTTER VALLEY HOSPITALS, at the direction of SUTTER HEALTH paid, and SUTTER
16   VALLEY MEDICAL FOUNDATION, SUTTER MEDICAL GROUP, and Dr. Roberts received,
17   remuneration to induce Dr. Roberts to refer, including Government Health Care Programs’
18   beneficiaries, to SUTTER VALLEY HOSPITALS for the furnishing of inpatient and outpatient
19   hospital services covered by Government Payers and none of the statutory or regulatory safe harbors

20   to the AKS apply.
21                  170.   On or about August 30, 2021, Defendants SUTTER HEALTH and SUTTER
22   VALLEY MEDICAL FOUNDATION entered into a Corporate Integrity Agreement (“CIA”) with
23   the Office of Inspector General (OIG) of the U.S. Department of Health and Human Services. The
24   CIA was signed by Florence L. Di Benedetto, on behalf of SUTTER HEALTH as Senior Vice
25   President and General Counsel, and on behalf of SUTTER VALLEY MEDICAL FOUNDATION as

26   Authorized Representative. The CIA is intended to promote compliance with federal healthcare

27   program requirements over a period of five years and includes specific elements that must be in place

28   and monitored. The CIA specifically obligates SUTTER HEALTH and SUTTER VALLEY


     Case No. 14-cv-04100 KAW                    50
                                     THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 51 of 84



 1   MEDICAL FOUNDATION to develop and implement written policies and procedures to “ensure

 2   that all Arrangements do not violate the Anti-Kickback Statute and the Stark Law.”

 3                  171.    SUTTER HEALTH and SUTTER VALLEY HOSPITALS each knowingly

 4   avoided its obligation to refund to the United States and the State of California overpayments received

 5   from false claims on AKS-tainted referrals by Dr. Roberts.

 6                  172.    In addition, SUTTER VALLEY HOSPITALS and SUTTER VALLEY

 7   MEDICAL FOUNDATION co-mingled funds with the parent entity SUTTER HEALTH so that

 8   SUTTER HEALTH possesses the spoils of the fraudulent acts relating to Dr. Roberts that it directed.

 9   SUTTER HEALTH’s Shared Services department held Short-term investments totaling
10   $5,441,000,000 as of December 31, 2020, accumulated from SUTTER HEALTH’s subsidiaries and
11   affiliates, including SUTTER VALLEY HOSPITALS and SUTTER VALLEY MEDICAL
12   FOUNDATION. Exhibit 41, p. 53. SUTTER HEALTH must be held financially accountable for its
13   own fraudulent acts and for directing the fraudulent acts of SUTTER VALLEY HOSPITALS and

14   SUTTER VALLEY MEDICAL FOUNDATION relating to Dr. Roberts.

15          C.      East Bay Cardiac Surgery Center Medical Group (“EAST BAY CARDIAC”)
16                  173.    SUTTER HEALTH similarly directed its subsidiary, SUTTER BAY

17   HOSPITALS, f/k/a Alta Bates Summit Medical Center, f/k/a Sutter East Bay Hospitals, to use special

18   agreements with cardiac surgeons in the East Bay region to pay unlawful kickbacks, excessive

19   compensation and other unlawful remuneration to restrict patient choice and competition and to

20   selectively reward high-volume referrers.

21                  174.    From June 1, 2007 and continuing through August 31, 2014, SUTTER BAY

22   HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH, knowingly entered

23   into a series of Administrative and Coverage Agreements (“Coverage Agreements”) with Defendant

24   EAST BAY CARDIAC. The EAST BAY CARDIAC physicians named to serve as a medical director

25   under the various versions of the Coverage Agreements are Dr. Junaid H. Khan and Dr. Russell D.

26   Stanten (the “East Bay Cardiac Physicians”). Each of the East Bay Cardiac Physicians held an

27   ownership interest in EAST BAY CARDIAC as a partner at all times relevant hereto. The Coverage

28   Agreement effective June 1, 2007, obligated SUTTER BAY HOSPITALS to pay EAST BAY


     Case No. 14-cv-04100 KAW                     51
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 52 of 84



 1   CARDIAC an annual amount of $15,000 for a medical directorship and administrative services, plus

 2   a flat annual amount of $485,000 for 24-hour, 365 days a year call coverage and for an unspecified

 3   number of hours performing data collection services, for a grand total of $500,000 per year. Exhibit
 4   27, ¶¶3.1 and 3.2. The Coverage Agreement, effective February 4, 2009, obligated SUTTER BAY
 5   HOSPITALS to pay EAST BAY CARDIAC a flat annual amount of $1,000,000 for administrative

 6   services, call coverage and data collection services, without specifically identifying the time required

 7   to perform the purported data collection services. Exhibit 28, ¶3.2. The net effect was to literally
 8   double the payments to EAST BAY CARDIAC from $500,000 to $1,000,000 per year.

 9                   175.    SUTTER BAY HOSPITALS and SUTTER HEALTH intended to induce
10   referrals and reward EAST BAY CARDIAC for its high-volume referrals from the East Bay Cardiac
11   Physicians by adding $500,000 in annual compensation under the February 4, 2009 version of the
12   Coverage Agreement (Exhibit 28), despite the fact that SUTTER BAY HOSPITALS and SUTTER
13   HEALTH knew that EAST BAY CARDIAC was not performing additional services to justify the

14   exorbitant increase.

15                   176.    SUTTER BAY HOSPITALS knew it was paying illegal compensation to East

16   Bay Cardiac and tried to conceal the illegal scheme in later versions of the Coverage Agreement with

17   the knowledge of and at the direction of SUTTER HEALTH. The February 1, 2014 version of the

18   Coverage Agreement between SUTTER BAY HOSPITALS and EAST BAY CARDIAC is attached

19   as Exhibit 29. This agreement stacks compensation for administrative services ($108,000), coverage
20   and indigent care services ($862,000) and data collection services ($385,000 - $1,100 per case for up
21   to 350 cases per year), for a grand total of $1,355,000 per year.
22                   177.    In addition to the Coverage Agreements SUTTER BAY HOSPITALS, with

23   the knowledge of and at the direction of SUTTER HEALTH, paid EAST BAY CARDIAC for

24   providing the East Bay Cardiac Physicians for call coverage at Eden Medical Center in Castro Valley

25   at the rate of $850 per shift.

26                   178.    After attempting to conceal some of the additional compensation which was

27   disguised and described as “data collection services,” SUTTER BAY HOSPITALS and EAST BAY

28   CARDIAC eventually admitted that EAST BAY CARDIAC was in fact not performing the data


     Case No. 14-cv-04100 KAW                     52
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 53 of 84



 1   collection services for which SUTTER BAY HOSPITALS, with the knowledge of and at the direction

 2   of SUTTER HEALTH, repeatedly paid East Bay Cardiac under the revised Coverage Agreement.

 3   Rather than immediately recovering the overpayments from EAST BAY CARDIAC which should

 4   not have been paid under the revised Coverage Agreement, SUTTER BAY HOSPITALS, with the

 5   knowledge of and at the direction of SUTTER HEALTH, waived and abandoned its contractual right

 6   to collect the overpayment from EAST BAY CARDIAC within thirty days. In fact, SUTTER BAY

 7   HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH, allowed EAST BAY

 8   CARDIAC to be paid for over four months with the benefit of the additional compensation payable

 9   for purported data collection services under the February 1, 2014 version of the Coverage Agreement.
10   See Exhibit 30. This conduct demonstrates that the payments for data collections were made to
11   induce and reward referrals to SUTTER BAY HOSPITALS from EAST BAY CARDIAC.

12                  179.    SUTTER BAY HOSPITALS and SUTTER HEALTH intended to induce

13   referrals and rewarded EAST BAY CARDIAC for its high-volume referrals by adding more

14   compensation under the February 1, 2014 version of the Coverage Agreement (Exhibit 29). SUTTER
15   BAY HOSPITALS and SUTTER HEALTH knew that EAST BAY CARDIAC was not performing

16   data collection services to justify the compensation for data collection services. That conduct violates

17   AKS.

18                  180.    By stacking compensation for administrative services, call coverage and data

19   collection services in the Coverage Agreements with EAST BAY CARDIAC, with aggregate annual

20   compensation exceeding $1 million per year, SUTTER BAY HOSPITALS, with the knowledge of
21   and at the direction of SUTTER HEALTH, knowingly created a financial relationship with the East
22   Bay Cardiac Physicians that was commercially unreasonable, grossly in excess of fair market value,
23   and violative of the Stark Statute because no exception applied.
24                  181.    SUTTER BAY HOSPITALS, with the knowledge of and at the direction of
25   SUTTER HEALTH, knowingly and repeatedly paid EAST BAY CARDIAC excessive amounts

26   under the Coverage Agreements that included compensation for purported data collection services

27   that were not performed. As such, SUTTER BAY HOSPITALS and SUTTER HEALTH could not

28   reasonably have concluded that the payments under the Coverage Agreements on or after February


     Case No. 14-cv-04100 KAW                     53
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 54 of 84



 1   4, 2009 did not violate the Stark Statute. SUTTER BAY HOSPITALS and SUTTER HEALTH each

 2   knew it was in violation of the Stark Law and still knowingly made or caused to be made the payments

 3   to EAST BAY CARDIAC and submitted or caused to be submitted tainted illegal claims for

 4   reimbursement to Government Payers in violation of the FCA and CFCA.

 5                  182.    Based on the contractual and actual financial relationships between the East

 6   Bay Cardiac Physicians and SUTTER BAY HOSPITALS, the Stark Statute was violated because

 7   EAST BAY CARDIAC and the East Bay Cardiac Physicians had direct compensation arrangements

 8   with SUTTER BAY HOSPITALS and none of the statutory or regulatory exceptions to the Stark

 9   Statute apply. Each of the compensation arrangements under the Coverage Agreements was a direct
10   compensation arrangement under the Stark Law because Dr. Khan and Dr. Stanten (the referring
11   physicians) each stand in the shoes of EAST BAY CARDIAC (their physician organization) due to
12   their ownership interests as partners, and SUTTER BAY HOSPITALS (the entity furnishing DHS),
13   with the knowledge of and at the direction of SUTTER HEALTH, paid them directly without an
14   intervening person or entity. 42 C.F.R. § 411.354(c)(1)(i) and (ii) (2019).
15                  183.    SUTTER HEALTH increased the compensation payable to EAST BAY
16   CARDIAC under the Coverage Agreement, effective February 4, 2009, by $500,000 and knowingly
17   paid EAST BAY CARDIAC under the Coverage Agreements for services that were not performed,
18   and one purpose of such payments was to reward and induce referrals of patients by East Bay Cardiac
19   Physicians to SUTTER BAY HOSPITALS for inpatient and outpatient hospital services covered by

20   Government Payers. As such, SUTTER HEALTH could not reasonably have concluded that the
21   payments under the Coverage Agreements on or after February 4, 2009 did not violate the AKS.
22   SUTTER HEALTH knew it was in violation of the AKS and still knowingly submitted tainted illegal
23   claims for reimbursement to Government Payers in violation of the FCA and CFCA.
24                  184.    Based on the contractual and actual financial relationships between the East
25   Bay Cardiac Physicians and SUTTER BAY HOSPITALS, the AKS was violated because SUTTER

26   BAY HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH, paid, and

27   EAST BAY CARDIAC and the East Bay Cardiac Physicians received remuneration, to induce the

28   East Bay Cardiac Physicians to refer, including Government Health Care Programs’ beneficiaries, to


     Case No. 14-cv-04100 KAW                     54
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 55 of 84



 1   SUTTER BAY HOSPITALS for the furnishing of inpatient and outpatient hospital services covered

 2   by Government Payers and none of the statutory or regulatory safe harbors to the AKS apply.

 3                  185.    In October 2019, SUTTER HEALTH and certain subsidiaries and affiliates of

 4   SUTTER HEALTH, including SUTTER BAY HOSPITALS and SUTTER VALLEY HOSPITALS,

 5   agreed to pay the United States $15,117,516.36 as a settlement and restitution for submission of

 6   claims to the Medicare program by certain SUTTER HEALTH subsidiaries and affiliates resulting

 7   from referrals by certain physicians, which claims the United States contended violated the Stark

 8   Law, during the period from January 1, 2009 through March 2, 2012. The Settlement Agreement was

 9   signed by Florence L. Di Benedetto, on behalf of SUTTER HEALTH as Senior Vice President and
10   General Counsel, on behalf of SUTTER BAY HOSPITALS as Authorized Agent. and on behalf of
11   SUTTER VALLEY HOSPITALS as Authorized Agent. SUTTER HEALTH had made voluntary
12   disclosures on behalf of its subsidiaries and affiliates to the United States Department of Health and
13   Human Services, Office of Inspector General, relating to the conduct addressed in the settlement.
14   However, SUTTER HEALTH, SUTTER BAY HOSPITALS and SUTTER VALLEY HOSPITALS
15   each knowingly failed to disclose to the United States and concealed the violations of Stark Law
16   described in this Third Amended Complaint.
17                  186.    SUTTER HEALTH and SUTTER BAY HOSPITALS each knowingly hid and
18   avoided its obligation to refund to the United States and the State of California overpayments received
19   from false claims submitted on or after February 4, 2009 on Stark-prohibited and AKS-tainted

20   referrals by the East Bay Cardiac Physicians.
21                  187.    In addition, SUTTER BAY HOSPITALS co-mingled funds with the parent

22   entity SUTTER HEALTH so that SUTTER HEALTH possesses the spoils of the fraudulent acts

23   relating to East Bay Cardiac that it directed. SUTTER HEALTH’s Shared Services department held

24   Short-term investments totaling $5,441,000,000 as of December 31, 2020, accumulated from

25   SUTTER HEALTH’s subsidiaries and affiliates, including SUTTER BAY HOSPITALS. Exhibit 41,
26   p. 53. SUTTER HEALTH must be held financially accountable for its own fraudulent acts and for

27   directing the fraudulent acts of SUTTER BAY HOSPITALS relating to East Bay Cardiac.

28   ///


     Case No. 14-cv-04100 KAW                     55
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 56 of 84



 1          D.      Dr. Stephen K. Liu
 2                  188.    SUTTER HEALTH directed its subsidiary, SUTTER VALLEY HOSPITALS

 3   to use preferential agreements with its physicians in the Central Valley region to pay or provide

 4   unlawful kickbacks, excessive compensation, preferential medical directorships and call coverage

 5   arrangements, and other illegal incentives to restrict patient choice and competition, and selectively

 6   reward high-volume referrers.

 7                  189.    Beginning September 1, 2008, SUTTER VALLEY HOSPITALS, with the

 8   knowledge of and at the direction of SUTTER HEALTH, knowingly entered into a series of exclusive

 9   call coverage agreements with Defendant STEPHEN K. LIU, M.D., PROFESSIONAL
10   CORPORATION (“Liu MD PC”) for Interventional Radiology at Memorial Medical Center in
11   Modesto, California. Exhibit 31 (the “Liu Call Coverage Agreement”). The initial Liu Call Coverage
12   Agreement expressly provided that Liu MD PC “shall be the exclusive provider of the specific

13   interventional radiology Services set forth at Exhibit A, attached hereto,” and Liu MD PC shall

14   provide coverage services “on a twenty-four (24) hour basis every day of the calendar year.” Exhibit
15   31, ¶1(a) and (b). Initially, the call coverage rate was $500 per shift. Exhibit 31, ¶3(a).
16                  190.    SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction

17   of SUTTER HEALTH, quadrupled the call coverage compensation from $500 to $2,000 per shift in
18   the version of the Liu Call Coverage Agreement effective April 4, 2014. Exhibit 32, ¶3(a).
19                  191.    The Liu Call Coverage Agreement provides that Liu MD PC will separately

20   bill and collect charges for any professional fees rendered during the coverage shifts. Exhibit 32,
21   ¶3(b); Exhibit 32, ¶1(q).
22                  192.    Under the Liu Call Coverage Agreement, SUTTER VALLEY HOSPITALS

23   and SUTTER HEALTH intended to induce referrals and rewarded Liu MD PC and its owner, Dr.

24   Stephen Liu, for his high-volume referrals with the exclusive right to cover all shifts for every day of

25   the calendar year. For example, for the month of March 2014, SUTTER VALLEY HOSPITALS,

26   with the knowledge of and at the direction of SUTTER HEALTH, paid Liu MD PC a total of $37,200,

27   which included all 31 shifts of the month at Memorial Medical Center at $1,200 per shift. Exhibit
28


     Case No. 14-cv-04100 KAW                     56
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 57 of 84



 1   33. Over a full year at the rate of $1,200 per shift, SUTTER HEALTH paid Liu MD PC a total of
 2   $438,000 ($1,200 x 365 days) for interventional radiology call coverage.

 3                  193.   Dr. Stephen Liu held an ownership interest in Liu MD PC as a shareholder at

 4   all times relevant hereto. Dr. Stephen Liu was far-and-away the highest-billing diagnostic radiologist

 5   in the entire State of California for the period from 2012 to 2015, receiving Medicare payments

 6   ranging from $4,861,815 in 2012 to $5,247,239 in 2015. Exhibit 34. Dr. Liu referred hundreds of
 7   Government Health Care Programs’ beneficiaries each year to SUTTER VALLEY HOSPITALS for

 8   inpatient and outpatient hospital services relating to expensive/lucrative cardiovascular procedures.

 9                  194.   SUTTER VALLEY HOSPITALS and SUTTER HEALTH knowingly
10   intended to induce referrals and rewarded Liu MD PC for Dr. Liu’s high-volume referrals with the
11   exclusive interventional radiology call coverage arrangement for Memorial Medical Center. That
12   conduct violated AKS.
13                  195.   By providing Liu MD PC with preferential call coverage assignments and
14   payments for all 365 days of the year, SUTTER VALLEY HOSPITALS, with the knowledge of and
15   at the direction of SUTTER HEALTH, knowingly created a financial relationship with Liu MD
16   PC/Dr. Stephen Liu that was commercially unreasonable, grossly in excess of fair market value, and
17   violative of the Stark Statute because no exception applied.
18                  196.   SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction
19   of SUTTER HEALTH, knowingly paid Liu MD PC excessive amounts under the preferential Liu

20   Coverage Agreement that included interventional radiology call coverage for all 365 days of the year.
21   As such, SUTTER VALLEY HOSPITALS and SUTTER HEALTH could not reasonably have
22   concluded that the payments under the Liu Coverage Agreement did not violate the Stark Statute.
23   SUTTER VALLEY HOSPITALS and SUTTER HEALTH each knew it was in violation of the Stark
24   Law and still knowingly made or caused to be made the payments to Liu MD PC and submitted or
25   caused to be submitted tainted illegal claims for reimbursement to Government Payers in violation of

26   the FCA and CFCA.

27                  197.   Based on the contractual and actual financial relationships between Dr.

28   Stephen Liu and SUTTER VALLEY HOSPITALS, the Stark Statute was violated because Dr.


     Case No. 14-cv-04100 KAW                     57
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 58 of 84



 1   Stephen Liu had a direct compensation arrangement with SUTTER VALLEY HOSPITALS and none

 2   of the statutory or regulatory exceptions to the Stark Statute apply. Each of the compensation

 3   arrangements under the Liu Call Coverage Agreements was a direct compensation arrangement under

 4   the Stark Law because Dr. Liu (the referring physician) stands in the shoes of Liu MD PC (his

 5   physician organization) due to his ownership interest as a shareholder in Liu MD PC, and SUTTER

 6   VALLEY HOSPITALS (the entity furnishing DHS), with the knowledge of and at the direction of

 7   SUTTER HEALTH, paid him directly without an intervening person or entity. 42 C.F.R. §

 8   411.354(c)(1)(i) and (ii) (2019).

 9                  198.    SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction
10   of SUTTER HEALTH, knowingly assigned interventional radiology call coverage to Liu MD PC on
11   a preferential basis and paid Liu MD PC based on such assignments, and one purpose of such
12   preferential assignments and payments was to reward and induce referrals of patients by Dr. Stephen
13   Liu to SUTTER VALLEY HOSPITALS for inpatient and outpatient hospital services covered by
14   Government Payers. As such, SUTTER VALLEY HOSPITALS and SUTTER HEALTH could not
15   reasonably have concluded that the payments under the Liu Coverage Agreements did not violate the
16   AKS. SUTTER VALLEY HOSPITALS and SUTTER HEALTH each knew it was in violation of
17   the AKS and still knowingly submitted or caused to be submitted tainted illegal claims for
18   reimbursement to Government Payers in violation of the FCA and CFCA.
19                  199.    Based on the contractual and actual financial relationships between Dr.

20   Stephen Liu and SUTTER VALLEY HOSPITALS, the AKS was violated because SUTTER
21   VALLEY HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH, paid, and
22   Dr. Stephen Liu received, remuneration to induce Dr. Liu to refer patients, including Government
23   Health Care Programs’ beneficiaries, to SUTTER VALLEY HOSPITALS for the furnishing of
24   inpatient and outpatient hospital services covered by Government Payers and none of the statutory or
25   regulatory safe harbors to the AKS apply.

26                  200.    SUTTER HEALTH and SUTTER VALLEY HOSPITALS each knowingly

27   hid and avoided its obligation to refund to the United States and the State of California overpayments

28   received from false claims submitted on Stark-prohibited and AKS-tainted referrals by Dr. Liu


     Case No. 14-cv-04100 KAW                        58
                                         THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 59 of 84



 1                  201.   In addition, SUTTER VALLEY HOSPITALS co-mingled funds with the

 2   parent entity SUTTER HEALTH so that SUTTER HEALTH possesses the spoils of the fraudulent

 3   acts relating to Liu MD PC that it directed. SUTTER HEALTH’s Shared Services department held

 4   Short-term investments totaling $5,441,000,000 as of December 31, 2020, accumulated from

 5   SUTTER HEALTH’s subsidiaries and affiliates, including SUTTER VALLEY HOSPITALS.

 6   Exhibit 41, p. 53. SUTTER HEALTH must be held financially accountable for its own fraudulent
 7   acts and for directing the fraudulent acts of SUTTER VALLEY HOSPITALS relating to Liu MD PC.

 8          F.      CEP America-California, a general partnership f/k/a California Emergency
 9   Physicians Medical Group, a general partnership (“CEPMG GP”)
10                  202.   Beginning April 1, 2011, SUTTER VALLEY HOSPITALS, with the

11   knowledge of and at the direction of SUTTER HEALTH, knowingly entered into a series of

12   agreements with CEP America-California, a general partnership, f/k/a California Emergency

13   Physicians Medical Group, a general partnership (“CEPMG GP”) for emergency department

14   coverage services at Memorial Hospital Los Banos that paid all direct costs for CEPMG GP’s Mid-

15   Level Practitioners. SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction of

16   SUTTER HEALTH, repeatedly paid compensation to and for the direct benefit of CEPMG GP, one

17   purpose of which was to induce referrals from the CEPMG GP’s physicians for inpatient and

18   outpatient hospital services at SUTTER VALLEY HOSPITALS. The April 1, 2011 version of the

19   agreement for emergency department coverage services is attached as Exhibit 35 (the “ED Coverage
20   Agreement”).
21                  203.   SUTTER VALLEY HOSPITALS executed the First Extension to the ED

22   Coverage Agreement as of March 31, 2014 (the “First Extension”). Exhibit 36. The First Extension
23   named Defendant California Emergency Physicians Medical Group, a California professional

24   corporation (“CEPMG PC”) as the contracting party. The First Extension was signed by Theo Koury,

25   MD on behalf of CEPMG PC.

26                  204.   Theo Koury, MD has since declared that he is the President of CEPMG GP,

27   and is also a shareholder, director, President and Chief Financial Officer of CEPMG PC. Dkt. 108-1,

28   ¶1. Theo Koury further declared that the mention of CEPMG PC in the First Extension was a


     Case No. 14-cv-04100 KAW                    59
                                     THIRD AMENDED COMPLAINT
             Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 60 of 84



 1   “scriveners error,” and that CEPMG GP, not CEPMG PC, was party to the ED Coverage Agreement.

 2   Id., ¶ 14.

 3                  205.   Relator’s original Complaint (Dkt. 1) and First Amended Complaint (Dkt. 46)

 4   named CEPMG PC as a defendant by mistake caused by the scriveners error in the First Extension

 5   and confusion resulting from the fact that both CEPMG GP and CEPMG PC conducted business

 6   under the identical name “California Emergency Physicians Medical Group.” On March 17, 2021,

 7   this Court issued an order granting CEPMG PC’s motion to dismiss. Dkt. 131 at 31. The same order

 8   permitted an amended complaint against all Defendants and a motion under Rule 15(c)(1)(C)(ii) to

 9   substitute or add CEPMG GP for CEPMG PC. Id., at 30. Relator included CEPMG PC as a defendant
10   in the Second Amended Complaint (Dkt. 133), but Relator has since dismissed this defendant (Dkt.
11   No. 136) and never filed a motion to add CEPMG GP as a defendant.
12                  206.   The ED Coverage Agreement obligates SUTTER VALLEY HOSPITALS to

13   pay CEPMG GP for its Mid-Level Practitioners working in the Emergency Department at Memorial

14   Hospital Los Banos at the rate of $60.33 per hour. Exhibit 35, ¶3.1(c). The ED Coverage Agreement
15   allowed CEPMG GP to bill and collect all charges for the professional component of medical services

16   delivered to all patients by CEPMG GP, including services delivered by the Mid-Level Practitioners

17   funded by SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction of SUTTER

18   HEALTH. Exhibit 35, ¶3.2(b). The payment for Mid-Level Practitioners varied with the volume
19   and value of inpatient hospital services referred by the CEPMG GP’s physicians to CEPMG GP’s

20   Mid-Level Practitioners. The revenues and profits made by CEPMG GP rise directly in correlation
21   to the referrals made by CEPMG GP’s physicians to the Mid-Level Practitioners.
22                  207.   Mid-Level Practitioners that were paid for by SUTTER VALLEY

23   HOSPITALS under the ED Coverage Agreement include (without limitation): Lani Antonio, Alysee

24   Michalosky, David Belshaw, Philip Sampson and Elmer Santos (the “CEPMG Mid-Level

25   Practitioners”).

26                  208.   Physicians that provided services under the ED Coverage Agreement and that

27   illegally benefited from the payments made by SUTTER VALLEY HOSPITALS for Mid-Level

28   Practitioners under the ED Coverage include (without limitation): Dr. Joseph Chiang, Dr. Henry W.


     Case No. 14-cv-04100 KAW                    60
                                     THIRD AMENDED COMPLAINT
               Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 61 of 84



 1   Turkel, Dr. Byron F. Carcelen and Dr. Philip Silverstein (the “CEPMG Physicians”). Each of the

 2   CEPMG Physicians held an ownership interest as a partner in CEPMG GP during all times relevant

 3   hereto.

 4                    209.   SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction

 5   of SUTTER HEALTH, provided a tangible financial benefit to CEPMG GP by paying CEPMG GP

 6   the costs of the Mid-Level Practitioners, who performed patient care services that are normally the

 7   responsibility of the physician or the physician’s staff. CEPMG GP billed Medicare and Medicaid for

 8   services rendered by the Mid-Level Practitioners, without having to bear the direct costs of the Mid-

 9   Level Practitioners. SUTTER VALLEY HOSPITALS and SUTTER HEALTH each knowingly
10   provided this tangible benefit to induce referrals from CEPMG GP. That conduct violates AKS. See
11   HHS-OIG Special Fraud Alert: Arrangements for the Provision of Clinical Lab Services (Issued
12   October 1994); 5 HHS-OIG Advisory Opinion 98-16 (Issued Nov. 3, 1998). 6
13                    210.   CEPMG GP realized the tangible benefit that SUTTER VALLEY

14   HOSPITALS was providing by paying for to Mid-Level Practitioners and CEPMG GP then

15   substantially increased the monetary value of the benefit by hiring two more Mid-Level Practitioners,

16   that it charged to SUTTER VALLEY HOSPITALS. For example, CEPMG GP invoiced SUTTER

17   VALLEY HOSPITALS for reimbursement for Physician Assistants totaling 306.5 hours in

18   September 2011 at $60.33 per hour for an invoice amount of $18,973.79. Exhibit 37. By June 2013,
19   CEPMG GP had increased the number of Mid-Level Practitioners from 2 persons to 4 persons.

20   CEPMG GP invoiced SUTTER VALLEY HOSPITALS for reimbursement for Physician Assistants
21   totaling 556.75 hours in June 2013 at $60.33 per hour for an invoice amount of $33,588.73. Exhibit
22   38.
23                    211.   In addition to the payments for Mid-Level Practitioners, the ED Coverage

24   Agreement expressly obligated SUTTER VALLEY HOSPITALS to pay CEPMG GP $12,000 per

25   year for Medical Director administrative duties that were documented in completed and signed time

26

27
     5
         https://oig.hhs.gov/fraud/docs/alertsandbulletins/121994.html (last viewed Apr. 9, 2021).
28   6
         https://oig.hhs.gov/fraud/docs/advisoryopinions/1998/ao98_16.htm (last viewed Apr. 9, 2021).

     Case No. 14-cv-04100 KAW                      61
                                       THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 62 of 84



 1   reports. Exhibit 35, ¶3.1(a). Dr. Joseph F. Chiang was the Medical Director in 2013 and submitted
 2   time reports to SUTTER VALLEY HOSPITALS to document his administrative duties. Exhibit 39.
 3                  212.   In addition to the payments for Mid-Level Practitioners and payments for

 4   administrative duties, SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction

 5   of SUTTER HEALTH, paid CEPMG GP a “Disproportionate Share Subsidy” of $300,000, payable

 6   in monthly installments of $25,000. Exhibit 35, ¶3.1(b). The stated purpose of the Disproportionate
 7   Share Subsidy was “to compensate Group fairly for its treatment of a disproportionate number of

 8   Hospital patients who either lack a third-party payment source or whose third-party payor

 9   reimbursement is insufficient to cover Group’s costs of providing services hereunder.” But SUTTER
10   VALLEY HOSPITALS’ and SUTTER HEALTH’s real purpose was to induce referrals from
11   CEPMG GP in violation of AKS. Id.
12                  213.   Federal law requires that state Medicaid programs make Disproportionate

13   Share Hospital (DSH) payments to qualifying hospitals that serve a large number of Medicaid and

14   uninsured individuals. The law establishes an annual DSH allotment for each state that limits Federal

15   Financial Participation (FFP) for total statewide DSH payments made to hospitals. Federal law also

16   limits FFP for DSH payments through the hospital-specific DSH limit. Under the hospital-specific

17   DSH limit, FFP is not available for state DSH payments that are more than the hospital's eligible

18   uncompensated care cost, which is the cost of providing inpatient hospital and outpatient hospital

19   services to Medicaid patients and the uninsured, minus payments received by the hospital on or on

20   behalf of those patients. For states to receive FFP for DSH payments, federal law requires states to
21   submit an independent certified audit and an annual report to the Secretary describing DSH payments
22   made to each DSH hospital. The report must identify each disproportionate share hospital that got a
23   DSH payment adjustment, and provide any other information the Secretary needs to ensure the
24   appropriateness of the payment amount. The annual certified independent audit includes specific
25   verifications to make sure all DSH payments are appropriate. 7
26

27   7
       See 42 U.S.C. § 1396a; 42 U.S.C. § 1396r-4; https://www.medicaid.gov/medicaid/financial-
28   management/medicaid-disproportionate-share-hospital-dsh-payments/index.html (last viewed Apr.
     9, 2021).

     Case No. 14-cv-04100 KAW                    62
                                     THIRD AMENDED COMPLAINT
              Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 63 of 84



 1                    214.   While federal law requires state Medicaid programs to make DSH payments

 2   to qualifying hospitals, AKS prohibits SUTTER VALLEY HOSPITALS from paying remuneration

 3   to CEPMG GP to induce the referral of business paid for by Medicare or Medicaid. See HHS-OIG

 4   Special Fraud Alert: Hospital Incentives to Physicians (Issued May 1992). 8 Hospital incentives to
 5   physicians may result in reductions in the physician’s professional expenses or an increase in his or

 6   her revenues. Id. In exchange, the physician is aware that he or she is expected to refer all of his or

 7   her patients to the hospital providing the incentive. Id. Suspect hospital incentive arrangements

 8   include guarantees which provide that, if the physician’s income fails to reach a predetermined level,

 9   the hospital will supplement the remainder up to a certain amount. Id.
10                    215.   SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction

11   of SUTTER HEALTH, repeatedly paid CEPMG GP the Disproportionate Share Subsidy of $300,000

12   per year without any substantiation that CEPMG GP actually provided professional services to a

13   “disproportionate number of Hospital patients who either lack a third-party payment source or whose

14   third-party payor reimbursement is insufficient to cover Group’s costs of providing services

15   hereunder.” Exhibit 40. The ED Coverage Agreement was commercially unreasonable because it
16   provided a $300,000 annual subsidy with no substantiation required, while states and hospitals are

17   subject to audit and reporting requirements in order to receive the DSH payments.

18                    216.   SUTTER VALLEY HOSPITALS also had similar unlawful emergency room

19   coverage agreements with CEPMG GP for its hospitals located in Roseville, Sacramento, Auburn,

20   and Davis, California, and SUTTER BAY HOSPITALS had a similar unlawful emergency room
21   coverage agreement with CEPMG GP for its hospital located in Antioch, California.
22                    217.   By stacking compensation for Mid-Level Practitioners (and allowing CEPMG
23   GP to separately bill for all patient care services performed by the CEPMG GP Mid-Level
24   Practitioners), Medical Director administrative services and the $300,000 annual Disproportionate
25   Share Subsidy for Memorial Hospital Los Banos, and entering into similar agreements for emergency

26   room coverage for its hospitals in Roseville, Antioch, Sacramento, Auburn, and Davis, California,

27

28   8
         https://oig.hhs.gov/fraud/docs/alertsandbulletins/121994.html (last viewed Apr. 9, 2021).

     Case No. 14-cv-04100 KAW                       63
                                        THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 64 of 84



 1   SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH,

 2   knowingly created a financial relationship with CEPMG GP that was commercially unreasonable, in

 3   excess of fair market value, varied with the volume and value of referrals, and violative of the Stark

 4   Statute because no exception applied.

 5                  218.    SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction

 6   of SUTTER HEALTH, knowingly paid CEPMG GP excessive amounts under the preferential ED

 7   Coverage Agreement that included payment for Mid-Level Practitioners that varied with volume and

 8   value of referrals. As such, SUTTER VALLEY HOSPITALS and SUTTER HEALTH could not

 9   reasonably have concluded that the payments under the ED Coverage Agreement did not violate the
10   Stark Statute. SUTTER VALLEY HOSPITALS and SUTTER HEALTH each knew it was in
11   violation of the Stark Law and still knowingly made or caused to be made the payments to CEPMG
12   GP and submitted or caused to me submitted tainted illegal claims for reimbursement to Government
13   Payers in violation of the FCA and CFCA.
14                  219.    Based on the contractual and actual financial relationships between CEPMG
15   GP and SUTTER HEALTH, the Stark Statute was violated because CEPMG GP had direct
16   compensation arrangements with SUTTER VALLEY HOSPITALS and none of the statutory or
17   regulatory exceptions to the Stark Statute apply. Each of the compensation arrangements under the
18   ED Coverage Agreements was a direct compensation arrangement under the Stark Law because the
19   CEPMG Physicians (the referring physicians) each stand in the shoes of CEPMG GP (their physician

20   organization) due to their ownership interests as partners, and SUTTER VALLEY HOSPITALS (the
21   entity furnishing DHS), with the knowledge of and at the direction of SUTTER HEALTH, paid them
22   directly without an intervening person or entity. 42 C.F.R. § 411.354(c)(1)(i) and (ii) (2019).
23                  220.    SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction
24   of SUTTER HEALTH, knowingly paid for Mid-Level Practitioners and provided other compensation
25   under the ED Coverage Agreement, and one purpose of such compensation was to induce referrals of

26   patients by CEPMG Physicians to Memorial Hospital Los Banos for inpatient and outpatient hospital

27   services covered by Government Payers. As such, SUTTER VALLEY HOSPITALS and SUTTER

28   HEALTH could not reasonably have concluded that the payments under the ED Coverage


     Case No. 14-cv-04100 KAW                     64
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 65 of 84



 1   Agreements did not violate the AKS. SUTTER VALLEY HOSPITALS and SUTTER HEALTH

 2   each knew it was in violation of the AKS and still knowingly submitted or caused to be submitted

 3   tainted illegal claims for reimbursement to Government Payers in violation of the FCA and CFCA.

 4                  221.    Based on the contractual and actual financial relationships between CEPMG

 5   GP and SUTTER VALLEY HOSPITALS, the AKS was violated because SUTTER VALLEY

 6   HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH, paid, and CEPMG

 7   GP received remuneration, to induce CEPMG Physicians to refer, including Government Health Care

 8   Programs’ beneficiaries, to SUTTER VALLEY HOSPITALS for the furnishing of inpatient and

 9   outpatient hospital services covered by Government Payers and none of the statutory or regulatory
10   safe harbors to the AKS apply.
11                  222.    SUTTER HEALTH and SUTTER VALLEY HOSPITALS each knowingly
12   avoided its obligation to refund to the United States and the State of California overpayments received
13   from false claims submitted on Stark-prohibited and AKS-tainted referrals by the CEPMG
14   Physicians.
15                  223.    In addition, SUTTER VALLEY HOSPITALS co-mingled funds with the

16   parent entity SUTTER HEALTH so that SUTTER HEALTH possesses the spoils of the fraudulent

17   acts relating to CEPMG that it directed. SUTTER HEALTH’s Shared Services department held Short-

18   term investments totaling $5,441,000,000 as of December 31, 2020, accumulated from SUTTER

19   HEALTH’s subsidiaries and affiliates, including SUTTER VALLEY HOSPITALS. Exhibit 41, p.
20   53. SUTTER HEALTH must be held financially accountable for its own fraudulent acts and for
21   directing the fraudulent acts of SUTTER VALLEY HOSPITALS relating to CEPMG GP.
22   XII.   FALSE CLAIMS AND FRAUDULENT CLAIMS AND STATEMENTS
23                  224.    SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction
24   of SUTTER HEALTH, entered into financial relationships specified above with the following
25   PHYSICIAN ENTITIES: SAC CARDIO, Liu MD PC, and CEPMG GP, and with the SAC CARDIO

26   Physicians, Dr. Stephen Lin and the CEPMG Physicians who stand in the shoes of their respective

27   physician organizations for purposes of the Stark Statute. The SAC CARDIO Physicians, Dr. Stephen

28


     Case No. 14-cv-04100 KAW                     65
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 66 of 84



 1   Lin and the CEPMG Physicians referred patients, including Government Health Care Programs’

 2   beneficiaries, to SUTTER VALLEY HOSPITALS in violation of the Stark Law.

 3                  225.    SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction

 4   of SUTTER HEALTH, in turn, presented, or caused to be presented through the fiscal intermediary

 5   and MAC, and through California’s DHCS, claims for payment to Government Payers for designated

 6   health services provided to patients of the physicians with whom they had entered into prohibited

 7   financial relationships as set forth above.

 8                  226.    SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction

 9   of SUTTER HEALTH, thereby obtained payments from the United States and the State of California
10   in violation of the Stark Statute.
11                  227.    Under the FCA (31 U.S.C. § 3729(a)(1), now 31 U.S.C. § 3729 (a)(1)(A)) and
12   the CFCA (Cal. Gov't Code § 12651(a)(1)), the claims submitted by SUTTER VALLEY
13   HOSPITALS, with the knowledge of and at the direction of SUTTER HEALTH, as set forth above
14   were false and/or fraudulent because SUTTER VALLEY HOSPITALS was prohibited from
15   obtaining payment from the United States and the State of California for designated health services
16   provided to referrals from the physicians with whom SUTTER VALLEY HOSPITALS had Stark-
17   violative financial relationships.
18                  228.    SUTTER BAY HOSPITALS, with the knowledge of and at the direction of
19   SUTTER HEALTH, entered into financial relationships specified above with EAST BAY CARDIAC

20   and the East Bay Cardiac Physicians who stand in the shoes of their physician organization under the
21   Stark Statute. The East Bay Cardiac Physicians referred patients, including Government Health Care
22   Programs’ beneficiaries, to SUTTER BAY HOSPITALS in violation of the Stark Statute.
23                  229.    SUTTER BAY HOSPITALS, with the knowledge of and at the direction of
24   SUTTER HEALTH, in turn, presented, or caused to be presented through the fiscal intermediary and
25   MAC, and through California’s DHCS, claims for payment to Government Payers for designated

26   health services provided to patients of the physicians with whom they had entered into prohibited

27   financial relationships as set forth above.

28


     Case No. 14-cv-04100 KAW                         66
                                          THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 67 of 84



 1                  230.    SUTTER BAY HOSPITALS, with the knowledge of and at the direction of

 2   SUTTER HEALTH, thereby obtained payments from the United States and the State of California in

 3   violation of the Stark Statute.

 4                  231.    Under the FCA (31 U.S.C. § 3729(a)(1), now 31 U.S.C. § 3729 (a)(1)(A)) and

 5   the CFCA (Cal. Gov't Code § 12651(a)(1)), the claims submitted by SUTTER BAY HOSPITALS,

 6   with the knowledge of and at the direction of SUTTER HEALTH, as set forth above were false and/or

 7   fraudulent because SUTTER BAY HOSPITALS was prohibited from obtaining payment from the

 8   United States and the State of California for designated health services provided to referrals from the

 9   physicians with whom SUTTER BAY HOSPITALS had Stark-violative financial relationships.
10                  232.    Under the AKS (42 U.S.C. § 1320a-7b(g)), the FCA (31 U.S.C. § 3729(a)(1),
11   now 31 U.S.C. § 3729 (a)(1)(A)), and the CFCA (Cal. Gov't Code § 12651(a)(1)), the claims
12   submitted by SUTTER VALLEY HOSPITALS, with the knowledge of and at the direction of
13   SUTTER HEALTH, and by SAC CARDIO, SUTTER MEDICAL GROUP relating to Dr. Roberts,
14   Liu MD PC, and CEPMG GP relating to the CEPMG Physicians as set forth above were false and/or
15   fraudulent because SUTTER VALLEY HOSPITALS and SUTTER VALLEY MEDICAL
16   FOUNDATION, each with the knowledge of and at the direction of SUTTER HEALTH, knowingly
17   and willfully paid (and SAC CARDIO, SUTTER MEDICAL GROUP, Liu MD PC and CEPMG GP
18   knowingly received) remuneration to induce referrals to SUTTER VALLEY HOSPITALS in
19   violation of the AKS, Cal Bus. & Prof. Code §§ 650 and 650.1 and Cal. Welf. & Inst. Code § 14107.2.

20                  233.    Under the AKS (42 U.S.C. § 1320a-7b(g)), the FCA (31 U.S.C. § 3729(a)(1),
21   now 31 U.S.C. § 3729 (a)(1)(A)), and the CFCA (Cal. Gov't Code § 12651(a)(1)), the claims
22   submitted by SUTTER BAY HOSPITALS, with the knowledge of and at the direction of SUTTER
23   HEALTH, and by EAST BAY CARDIAC as set forth above were false and/or fraudulent because
24   SUTTER BAY HOSPITALS, at the direction of SUTTER HEALTH, knowingly and willfully paid
25   (and EAST BAY CARDIAC knowingly received) remuneration to induce referrals to SUTTER BAY

26   HOSPITALS in violation of the AKS, Cal Bus. & Prof. Code §§ 650 and 650.1 and Cal. Welf. & Inst.

27   Code § 14107.2.

28


     Case No. 14-cv-04100 KAW                      67
                                       THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 68 of 84



 1                  234.    SUTTER VALLEY HOSPITALS and SUTTER BAY HOSPITALS, each

 2   with the knowledge of and at the direction of SUTTER HEALTH also violated the FCA (31 U.S.C.

 3   § 3729(a)(2), now 3729(a)(1)(B)), and the CFCA (Cal. Gov't Code § 12651(a)(2)), by making false

 4   statements on their cost reports, or causing false statements to be made by the fiscal intermediary and

 5   MAC, and by DHCS, to get claims paid by Government Payers for designated health services based

 6   on prohibited financial relationships as set forth above.

 7                  235.    SAC CARDIO, SUTTER MEDICAL GROUP, EAST BAY CARDIAC, Liu

 8   MD PC and CEPMG GP each also violated the FCA (31 U.S.C. § 3729(a)(2), now 3729(a)(1)(B)),

 9   and the CFCA (Cal. Gov't Code § 12651(a)(2)), by making false statements, or causing false
10   statements on its form 837 claims that its statements were “true” and/or “correct” and/or “complie[d]
11   with all applicable Medicare and/or Medicaid laws, regulations, and program instructions” (for
12   example) such that they were entitled to payment of their claims for such services were false or
13   fraudulent because the Stark Statute prohibited it from receiving payments from the United States and
14   the State of California for those claims as set forth above.
15                  236.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS and SAC CARDIO
16   conspired with one another to get false and fraudulent claims allowed and paid by Government Payers
17   and to retain the resulting overpayments, in violation of the FCA and CFCA as set forth above.
18   SUTTER HEALTH, SUTTER VALLEY HOSPITALS and SAC CARDIO also conspired to pay (and
19   receive) unlawful, excessive compensation and remuneration in violation of the Stark Statute and the

20   AKS as set forth above. SUTTER HEALTH, SUTTER VALLEY HOSPITALS and SAC CARDIO
21   acted in a concerted fashion to defraud Government Payers, and acted with one another to keep the
22   facts necessary to investigate the fraud, and the damages caused by the fraud, concealed from the
23   United States and the State of California as set forth above. Accordingly, SUTTER HEALTH,
24   SUTTER VALLEY HOSPITALS and SAC CARDIO violated the FCA (31 U.S.C. § 3729(a)(3), now
25   § 3729(a)(1)(C)) and the CFCA (Cal. Gov't Code § 12651(a)(3)).

26                  237.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS, SUTTER VALLEY

27   MEDICAL FOUNDATION and SUTTER MEDICAL GROUP conspired with one another to get

28   false and fraudulent claims allowed and paid by Government Payers and to retain the resulting


     Case No. 14-cv-04100 KAW                      68
                                       THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 69 of 84



 1   overpayments, in violation of the FCA and CFCA as set forth above. SUTTER HEALTH, SUTTER

 2   VALLEY HOSPITALS, SUTTER VALLEY MEDICAL FOUNDATION and SUTTER MEDICAL

 3   GROUP also conspired to pay (and receive) unlawful, excessive compensation and remuneration in

 4   violation of the AKS as set forth above. SUTTER HEALTH, SUTTER VALLEY HOSPITALS,

 5   SUTTER VALLEY MEDICAL FOUNDATION and SUTTER MEDICAL GROUP acted in a

 6   concerted fashion to defraud Government Payers, and acted with one another to keep the facts

 7   necessary to investigate the fraud, and the damages caused by the fraud, concealed from the United

 8   States and the State of California as set forth above. Accordingly, SUTTER HEALTH, SUTTER

 9   VALLEY HOSPITALS, SUTTER VALLEY MEDICAL FOUNDATION and SUTTER MEDICAL
10   GROUP violated the FCA (31 U.S.C. § 3729(a)(3), now § 3729(a)(1)(C)) and the CFCA (Cal. Gov't
11   Code § 12651(a)(3)).
12                 238.     SUTTER HEALTH, SUTTER BAY HOSPITALS and EAST BAY
13   CARDIAC conspired with one another to get false and fraudulent claims allowed and paid by
14   Government Payers and to retain the resulting overpayments, in violation of the FCA and CFCA as
15   set forth above. SUTTER HEALTH, SUTTER BAY HOSPITALS and EAST BAY CARDIAC also
16   conspired to pay (and receive) unlawful, excessive compensation and remuneration in violation of the
17   Stark Statute and the AKS as set forth above. SUTTER HEALTH, SUTTER VALLEY HOSPITALS
18   and EAST BAY CARDIAC acted in a concerted fashion to defraud Government Payers, and acted
19   with one another to keep the facts necessary to investigate the fraud, and the damages caused by the

20   fraud, concealed from the United States and the State of California as set forth above. Accordingly,
21   SUTTER HEALTH, SUTTER BAY HOSPITALS and EAST BAY CARDIAC violated the FCA (31
22   U.S.C. § 3729(a)(3), now § 3729(a)(1)(C)) and the CFCA (Cal. Gov't Code § 12651(a)(3)).
23                 239.     SUTTER HEALTH, SUTTER VALLEY HOSPITALS and Liu MD PC
24   conspired with one another to get false and fraudulent claims allowed and paid by Government Payers
25   and to retain the resulting overpayments, in violation of the FCA and CFCA as set forth above.

26   SUTTER HEALTH, SUTTER VALLEY HOSPITALS and Liu MD PC also conspired to pay (and

27   receive) unlawful, excessive compensation and remuneration in violation of the Stark Statute and the

28   AKS as set forth above. SUTTER HEALTH, SUTTER VALLEY HOSPITALS and Liu MD PC


     Case No. 14-cv-04100 KAW                    69
                                     THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 70 of 84



 1   acted in a concerted fashion to defraud Government Payers, and acted with one another to keep the

 2   facts necessary to investigate the fraud, and the damages caused by the fraud, concealed from the

 3   United States and the State of California as set forth above. Accordingly, SUTTER HEALTH,

 4   SUTTER VALLEY HOSPITALS and Liu MD PC violated the FCA (31 U.S.C. § 3729(a)(3), now §

 5   3729(a)(1)(C)) and the CFCA (Cal. Gov't Code § 12651(a)(3)).

 6                 240.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS and CEPMG GP

 7   conspired with one another to get false and fraudulent claims allowed and paid by Government Payers

 8   and to retain the resulting overpayments, in violation of the FCA and CFCA as set forth above.

 9   SUTTER HEALTH, SUTTER VALLEY HOSPITALS and CEPMG GP also conspired to pay (and
10   receive) unlawful, excessive compensation and remuneration in violation of the Stark Statute and the
11   AKS as set forth above. SUTTER HEALTH, SUTTER VALLEY HOSPITALS and CEPMG GP
12   acted in a concerted fashion to defraud Government Payers, and acted with one another to keep the
13   facts necessary to investigate the fraud, and the damages caused by the fraud, concealed from the
14   United States and the State of California as set forth above. Accordingly, SUTTER HEALTH,
15   SUTTER VALLEY HOSPITALS and CEPMG GP violated the FCA (31 U.S.C. § 3729(a)(3), now
16   § 3729(a)(1)(C)) and the CFCA (Cal. Gov't Code § 12651(a)(3)).
17                 241.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS, SUTTER BAY
18   HOSPITALS, SAC CARDIO, SUTTER MEDICAL GROUP, EAST BAY CARDIAC, Liu MD PC
19   and CEPMG GP knowingly made, used, and caused to be made or used false records and statements

20   to conceal, avoid or decrease its obligations to pay or transmit money to the United States and the
21   State of California (i.e., to avoid refunding payments made in violation of the Stark Statute) by
22   certifying on their annual cost reports and Form 837 claims that the services were provided in
23   compliance with federal law, all in violation of the FCA (31 U.S.C. § 3729(a)(7), now
24   § 3729(a)(1)(G)) and the CFCA (Cal. Gov't Code § 12651(a)(7)). The false certifications, made with
25   each annual cost report and Form 837 claim submitted to the government, were part of their unlawful

26   and orchestrated scheme to defraud Government Payers.

27                 242.    Even if SUTTER HEALTH, SUTTER VALLEY HOSPITALS, SUTTER

28   VALLEY MEDICAL FOUNDATION, SUTTER BAY HOSPITALS, SAC CARDIO, SUTTER


     Case No. 14-cv-04100 KAW                    70
                                     THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 71 of 84



 1   MEDICAL GROUP, EAST BAY CARDIAC, Liu MD PC and CEPMG GP, or any one of them could

 2   be considered not to have initially known that the scheme in which they conspired was fraudulent,

 3   and as such were each beneficiaries of inadvertent submissions of false claims, they each subsequently

 4   discovered the falsity of the claims and failed to disclose the false claims to the State of California

 5   within a reasonable time after discovery in violation of the CFCA (Cal. Gov't Code § 12651(a)(8)).

 6   The conduct was part of their orchestrated scheme to defraud Government Payers.

 7                   243.    All claims submitted to Government Payers by SUTTER VALLEY

 8   HOSPITALS and SUTTER BAY HOSPITALS, each with the knowledge of and at the direction of

 9   SUTTER HEALTH, for designated health services, as set forth above, were false claims that were
10   knowingly submitted to the United States or the State of California.               SUTTER VALLEY
11   HOSPITALS and SUTTER BAY HOSPITALS, each with the knowledge of and at the direction of

12   SUTTER HEALTH submitted or caused others to submit false and fraudulent claims for payment to

13   Government Payers, which included claims relating to inpatient and outpatient designated health

14   services that resulted from violations of the Stark Statute and the AKS.

15                   244.    SUTTER VALLEY HOSPITALS and SUTTER BAY HOSPITALS, each at

16   the direction of SUTTER HEALTH, and SAC CARDIO, SUTTER MEDICAL GROUP, EAST BAY

17   CARDIAC, Liu MD PC and CEPMG GP presented, or caused to be presented, all of said false claims

18   with actual knowledge of their falsity, or in deliberate ignorance or reckless disregard that such claims

19   were false and fraudulent. The illegal scheme implemented by the Defendants involved thousands of

20   false claims based on prohibited conduct, as discussed above.
21                                               COUNT ONE
22                              (False Claims Act: Presentation of False Claims)
23                                   (31 U.S.C. § 3729(a)(1) now (a)(1)(A))
24                   245.    Relator incorporates by reference all paragraphs of this Complaint set out
25   above as if fully set forth here.

26                   246.    SUTTER VALLEY HOSPITALS and SUTTER HEALTH, knowingly

27   presented, or caused to be presented, false and fraudulent claims for payment or approval to the United

28   States, including those claims for reimbursement identified above for designated health services


     Case No. 14-cv-04100 KAW                        71
                                         THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 72 of 84



 1   rendered to patients covered by Government Health Care Programs who were referred by physicians

 2   with whom SUTTER VALLEY HOSPITALS had entered into prohibited financial relationships in

 3   violation of the Stark Statute.

 4                    247.   SUTTER BAY HOSPITALS and SUTTER HEALTH, knowingly presented,

 5   or caused to be presented, false and fraudulent claims for payment or approval to the United States,

 6   including those claims for reimbursement identified above for designated health services rendered to

 7   patients covered by Government Health Care Programs who were referred by physicians with whom

 8   SUTTER BAY HOSPITALS had entered into prohibited financial relationships in violation of the

 9   Stark Statute.
10                    248.   The false claims presented or caused to be presented by SUTTER VALLEY
11   HOSPITALS, SUTTER BAY HOSPITALS and SUTTER HEALTH were material to the United
12   States’ payment decisions on the claims and said claims were presented with actual knowledge of
13   their falsity, or with reckless disregard or deliberate ignorance of whether or not they were false.
14                                              COUNT TWO
15                    (False Claims Act: Using False Statements to Get False Claims Paid)
16                                (31 U.S.C. § 3729(a)(2), now 3729(a)(1)(B))
17                    249.   Relator incorporates by reference all paragraphs of this Complaint set out
18   above as if fully set forth here.
19                    250.   SUTTER VALLEY HOSPITALS, SUTTER BAY HOSPITALS, SUTTER

20   HEALTH, SAC CARDIO, SUTTER MEDICAL GROUP, EAST BAY CARDIAC, Liu MD PC and
21   CEPMG GP made, used, and caused to be made or used, false records or statements to get false or
22   fraudulent claims paid and approved by the United States.
23                    251.   Those false certifications and representations were made for the purpose of
24   getting false or fraudulent claims paid and payment of the false or fraudulent claims was a reasonable
25   and foreseeable consequence of their statements and actions.

26                    252.   Those false certifications and representations made and caused to be made

27   were material to the United States’ payment of the false claims.

28


     Case No. 14-cv-04100 KAW                        72
                                         THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 73 of 84



 1                   253.     Said false records or statements were made with actual knowledge of their

 2   falsity, or with reckless disregard or deliberate ignorance of whether or not they were false.

 3                                              COUNT THREE
 4                       (False Claims Act: False Record Material to Obligation to Pay)

 5                                   (31 U.S.C. § 3729(a)(7), now (a)(1)(G))

 6                   254.     Relator incorporates by reference all paragraphs of this Complaint set out

 7   above as if fully set forth here.

 8                   255.     SUTTER VALLEY HOSPITALS, SUTTER BAY HOSPITALS, SUTTER

 9   HEALTH, SAC CARDIO, SUTTER MEDICAL GROUP, EAST BAY CARDIAC, Liu MD PC and
10   CEPMG GP made and used or caused to be made or used false records or statements material to an
11   obligation to pay or transmit money to the United States, or knowingly concealed, avoided, or
12   decreased an obligation to pay or transmit money to the United States.
13                   256.     Said false records or statements were made with actual knowledge of their
14   falsity, or with reckless disregard or deliberate ignorance of whether or not they were false.
15                                              COUNT FOUR
16                          (False Claims Act: Conspiracy to Violate False Claims Act)
17                                 (31 U.S.C. § 3729(a)(3), now 3729(a)(1)(C))
18                   257.     Relator incorporates by reference all paragraphs of this Complaint set out
19   above as if fully set forth here.

20                   258.     SUTTER HEALTH, SUTTER VALLEY HOSPITALS and SAC CARDIO
21   conspired with one another to get false and fraudulent claims allowed and paid by the United States
22   in violation of 31 U.S.C. § 3729(a)(1)(A) and/or (B) and to retain overpayments in violation of 31
23   U.S.C. § 3729(a)(1)(G).
24                   259.     SUTTER HEALTH, SUTTER VALLEY HOSPITALS and SAC CARDIO
25   acted in a concerted fashion to defraud the United States, and acted with others in keeping the facts

26   necessary to investigate the fraud, and the damages caused by the fraud, concealed from the United

27   States. Accordingly, SUTTER HEALTH, SUTTER VALLEY HOSPITALS and SAC CARDIO

28   violated 31 U.S.C. § 3729(a)(1)(C).


     Case No. 14-cv-04100 KAW                        73
                                         THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 74 of 84



 1                  260.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS, SUTTER VALLEY

 2   MEDICAL FOUNDATION and SUTTER MEDICAL GROUP conspired with one another to get

 3   false and fraudulent claims allowed and paid by the United States in violation of 31 U.S.C. §

 4   3729(a)(1)(A) and/or (B) and to retain overpayments in violation of 31 U.S.C. § 3729(a)(1)(G).

 5                  261.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS, SUTTER VALLEY

 6   MEDICAL FOUNDATION and SUTTER MEDICAL GROUP acted in a concerted fashion to

 7   defraud the United States, and acted with others in keeping the facts necessary to investigate the fraud,

 8   and the damages caused by the fraud, concealed from the United States. Accordingly, SUTTER

 9   HEALTH, SUTTER VALLEY HOSPITALS, SUTTER VALLEY MEDICAL FOUNDATION and
10   SUTTER MEDICAL GROUP violated 31 U.S.C. § 3729(a)(1)(C).
11                  262.    SUTTER HEALTH, SUTTER BAY HOSPITALS and EAST BAY
12   CARDIAC conspired with one another to get false and fraudulent claims allowed and paid by the
13   United States in violation of 31 U.S.C. § 3729(a)(1)(A) and/or (B) and to retain overpayments in
14   violation of 31 U.S.C. § 3729(a)(1)(G).
15                  263.    SUTTER HEALTH, SUTTER BAY HOSPITALS and EAST BAY
16   CARDIAC acted in a concerted fashion to defraud the United States, and acted with others in keeping
17   the facts necessary to investigate the fraud, and the damages caused by the fraud, concealed from the
18   United States. Accordingly, SUTTER HEALTH, SUTTER BAY HOSPITALS and EAST BAY
19   CARDIAC violated 31 U.S.C. § 3729(a)(1)(C).

20                  264.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS and Liu MD PC
21   conspired with one another to get false and fraudulent claims allowed and paid by the United States
22   in violation of 31 U.S.C. § 3729(a)(1)(A) and/or (B) and to retain overpayments in violation of 31
23   U.S.C. § 3729(a)(1)(G).
24                  265.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS and Liu MD PC acted
25   in a concerted fashion to defraud the United States, and acted with others in keeping the facts

26   necessary to investigate the fraud, and the damages caused by the fraud, concealed from the United

27   States. Accordingly, SUTTER HEALTH, SUTTER VALLEY HOSPITALS and Liu MD PC

28   violated 31 U.S.C. § 3729(a)(1)(C).


     Case No. 14-cv-04100 KAW                      74
                                       THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 75 of 84



 1                   266.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS and CEPMG GP

 2   conspired with one another to get false and fraudulent claims allowed and paid by the United States

 3   in violation of 31 U.S.C. § 3729(a)(1)(A) and/or (B) and to retain overpayments in violation of 31

 4   U.S.C. § 3729(a)(1)(G).

 5                   267.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS and CEPMG GP acted

 6   in a concerted fashion to defraud the United States, and acted with others in keeping the facts

 7   necessary to investigate the fraud, and the damages caused by the fraud, concealed from the United

 8   States. Accordingly, SUTTER HEALTH, SUTTER VALLEY HOSPITALS and CEPMG GP

 9   violated 31 U.S.C. § 3729(a)(1)(C).
10                   268.    As a result of the actions of Defendants, the United States has been severely
11   damaged.
12                                               COUNT FIVE
13                          (California False Claims Act: Presentation of False Claims)
14                                       (Cal. Gov't Code § 12651(a)(1))
15                   269.    Relator incorporates by reference all paragraphs of this Complaint set out
16   above as if fully set forth here.
17                   270.    Cal. Gov't Code § 12651(a)(1) provides liability for any person who
18   “[k]knowingly presents or causes to be presented a false or fraudulent claim for payment or approval.”
19                   271.    In addition, the payment or receipt of bribes or kickbacks is prohibited under

20   Cal. Bus. & Prof. Code §§ 650 and 650.1, and is also specifically prohibited in treatment of Medi-Cal
21   patients pursuant to Cal. Welf. & lnst. Code § 14107.2.
22                   272.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS, SUTTER BAY
23   HOSPITALS, SAC CARDIO, SUTTER MEDICAL GROUP, EAST BAY CARDIAC, Liu MD PC
24   and CEPMG GP violated Cal Bus. & Prof. Code §§ 650 and 650.1 and Cal. Welf. & Inst. Code §
25   14107.2 from at least July 1, 2006 to the present by engaging in the fraudulent and illegal practices

26   described herein.

27                   273.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS and SUTTER BAY

28   HOSPITALS furthermore violated Cal. Gov't Code § 12651(a)(1) and knowingly presented or caused


     Case No. 14-cv-04100 KAW                        75
                                         THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 76 of 84



 1   to be presented false claims to the State of California from at least July 1, 2006 to the present by

 2   violation of federal and state laws, including Cal. Bus. & Prof. Code §§ 650 and 650.1 and Cal. Welf.

 3   & Inst. Code § 14107.2, the Stark Act and the AKS, as described herein.

 4                   274.    Those false claims were material to the State of California’s payment decision

 5   and the State of California, by and through the Medi-Cal program, and unaware of those fraudulent

 6   and illegal practices, paid the claims submitted by health care providers.

 7                   275.    Compliance with applicable Medicare, Medi-Cal and the various other federal

 8   and state laws cited herein was implied, and also was an express condition of payment of claims

 9   submitted to the State of California.
10                   276.    Had the State of California known that those Defendants were violating the
11   federal and state laws cited herein, it would not have paid the claims submitted by health care
12   providers and third party payers in connection with Defendants’ fraudulent and illegal practices.
13                                               COUNT SIX
14              (California False Claims Act: Using False Statements to Get False Claims Paid)
15                                       (Cal. Gov't Code § 12651(a)(2))
16                   277.    Relator incorporates by reference all paragraphs of this Complaint set out
17   above as if fully set forth here.
18                   278.    SUTTER VALLEY HOSPITALS, SUTTER BAY HOSPITALS, SUTTER
19   HEALTH, SAC CARDIO, SUTTER MEDICAL GROUP, EAST BAY CARDIAC, Liu MD PC and

20   CEPMG GP made, used, and caused to be made or used, false records or statements to get false or
21   fraudulent claims paid and approved by the State of California.
22                   279.    Those false certifications and representations were made for the purpose of
23   getting false or fraudulent claims paid and payment of the false or fraudulent claims was a reasonable
24   and foreseeable consequence of those statements and actions.
25                   280.    The false certifications and representations made and caused to be made by

26   those Defendants were material to the State of California’s payment of the false claims.

27                   281.    Said false records or statements were made with actual knowledge of their

28   falsity, or with reckless disregard or deliberate ignorance of whether or not they were false.


     Case No. 14-cv-04100 KAW                        76
                                         THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 77 of 84



 1                                             COUNT SEVEN
 2                 (California False Claims Act: False Record Material to Obligation to Pay)

 3                                       (Cal. Gov't Code § 12651(a)(7))

 4                   282.    Relator incorporates by reference all paragraphs of this Complaint set out

 5   above as if fully set forth here.

 6                   283.    SUTTER VALLEY HOSPITALS, SUTTER BAY HOSPITALS, SUTTER

 7   HEALTH, SAC CARDIO, SUTTER MEDICAL GROUP, EAST BAY CARDIAC, Liu MD PC and

 8   CEPMG GP made and used or caused to be made or used false records or statements material to an

 9   obligation to pay or transmit money to the State of California, or knowingly concealed, avoided, or
10   decreased an obligation to pay or transmit money to the State of California.

11                   284.    Said false records or statements were made with actual knowledge of their

12   falsity, or with reckless disregard or deliberate ignorance of whether or not they were false.

13                                              COUNT EIGHT
14           (California False Claims Act: Discovery of Inadvertent Submission of False Claims)

15                                       (Cal. Gov't Code § 12651(a)(8))

16                   285.    Relator incorporates by reference all paragraphs of this Complaint set out

17   above as if fully set forth here.

18                   286.    Even if SUTTER HEALTH, SUTTER VALLEY HOSPITALS, SUTTER

19   VALLEY MEDICAL FOUNDATION, SUTTER BAY HOSPITALS, SAC CARDIO, SUTTER

20   MEDICAL GROUP, EAST BAY CARDIAC, Liu MD PC and CEPMG GP, or any one of them could
21   be considered initially unaware of their fraud, they were the beneficiaries of inadvertent submissions
22   of false claims, and having subsequently discovered the falsity of such claims, failed to disclose the
23   false claims within a reasonable time to the State of California.

24                   287.    Had those Defendants disclosed the false claims to the State of California, and

25   had the State of California thus known that Defendants were violating the federal and state laws cited

26   herein, the State of California would have recovered from Defendants the payments they received and

27   were not entitled to, and would have taken steps to prevent further fraudulent conduct by these

28   Defendants.


     Case No. 14-cv-04100 KAW                        77
                                         THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 78 of 84



 1                                              COUNT NINE
 2                   (California False Claims Act: Conspiracy to Violate False Claims Act)

 3                                       (Cal. Gov't Code § 12651(a)(3))

 4                   288.    Relator incorporates by reference all paragraphs of this Complaint set out

 5   above as if fully set forth here.

 6                   289.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS and SAC CARDIO

 7   conspired with one another to get false and fraudulent claims allowed and paid by the State of

 8   California in violation of Cal. Gov't Code § 12651(a)(1) and (2), to retain overpayments in violation

 9   of Cal. Gov't Code § 12651(a)(7), and to fail to disclose any inadvertent submission of false claims
10   in violation of Cal. Gov’t Code         § 12651(a)(8).    SUTTER HEALTH, SUTTER VALLEY

11   HOSPITALS and SAC CARDIO also conspired to violate the Stark Law, AKS laws, Cal Bus. &

12   Prof. Code §§ 650 and 650.1 and Cal. Welf. & Inst. Code § 14107.2.

13                   290.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS and SAC CARDIO

14   acted in a concerted fashion to defraud the State of California, and acted with others in keeping the

15   facts necessary to investigate the fraud, and the damages caused by the fraud, concealed from the

16   State of California. Accordingly, SUTTER HEALTH, SUTTER VALLEY HOSPITALS and SAC

17   CARDIO violated Cal. Gov't Code § 12651(a)(3).

18                   291.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS, SUTTER VALLEY

19   MEDICAL FOUNDATION and SUTTER MEDICAL GROUP conspired with one another to get

20   false and fraudulent claims allowed and paid by the State of California in violation of Cal. Gov't Code
21   § 12651(a)(1) and (2), to retain overpayments in violation of Cal. Gov't Code § 12651(a)(7), and to
22   fail to disclose any inadvertent submission of false claims in violation of Cal. Gov’t Code §
23   12651(a)(8).     SUTTER HEALTH, SUTTER VALLEY HOSPITALS, SUTTER VALLEY

24   MEDICAL FOUNDATION and SUTTER MEDICAL GROUP also conspired to violate the AKS

25   laws, Cal Bus. & Prof. Code §§ 650 and 650.1 and Cal. Welf. & Inst. Code § 14107.2.

26                   292.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS, SUTTER VALLEY

27   MEDICAL FOUNDATION and SUTTER MEDICAL GROUP acted in a concerted fashion to

28   defraud the State of California, and acted with others in keeping the facts necessary to investigate the


     Case No. 14-cv-04100 KAW                        78
                                         THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 79 of 84



 1   fraud, and the damages caused by the fraud, concealed from the State of California. Accordingly,

 2   SUTTER HEALTH, SUTTER VALLEY HOSPITALS, SUTTER VALLEY MEDICAL

 3   FOUNDATION and SUTTER MEDICAL GROUP violated Cal. Gov't Code § 12651(a)(3).

 4                  293.    SUTTER HEALTH, SUTTER BAY HOSPITALS and EAST BAY

 5   CARDIAC conspired with one another to get false and fraudulent claims allowed and paid by the

 6   State of California in violation of Cal. Gov't Code § 12651(a)(1) and (2), to retain overpayments in

 7   violation of Cal. Gov't Code § 12651(a)(7), and to fail to disclose any inadvertent submission of false

 8   claims in violation of Cal. Gov’t Code § 12651(a)(8). SUTTER HEALTH, SUTTER BAY

 9   HOSPITALS and EAST BAY CARDIAC also conspired to violate the Stark Law, AKS laws, Cal
10   Bus. & Prof. Code §§ 650 and 650.1 and Cal. Welf. & Inst. Code § 14107.2.
11                  294.    SUTTER HEALTH, SUTTER BAY HOSPITALS and EAST BAY
12   CARDIAC acted in a concerted fashion to defraud the State of California, and acted with others in
13   keeping the facts necessary to investigate the fraud, and the damages caused by the fraud, concealed
14   from the State of California. Accordingly, SUTTER HEALTH, SUTTER BAY HOSPITALS and
15   EAST BAY CARDIAC violated Cal. Gov't Code § 12651(a)(3).
16                  295.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS and Liu MD PC
17   conspired with one another to get false and fraudulent claims allowed and paid by the State of
18   California in violation of Cal. Gov't Code § 12651(a)(1) and (2), to retain overpayments in violation
19   of Cal. Gov't Code § 12651(a)(7), and to fail to disclose any inadvertent submission of false claims

20   in violation of Cal. Gov’t Code        § 12651(a)(8).     SUTTER HEALTH, SUTTER VALLEY
21   HOSPITALS and Liu MD PC also conspired to violate the Stark Law, AKS laws, Cal Bus. & Prof.
22   Code §§ 650 and 650.1 and Cal. Welf. & Inst. Code § 14107.2.
23                  296.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS and Liu MD PC acted
24   in a concerted fashion to defraud the State of California, and acted with others in keeping the facts
25   necessary to investigate the fraud, and the damages caused by the fraud, concealed from the State of

26   California. Accordingly, SUTTER HEALTH, SUTTER VALLEY HOSPITALS and Liu MD PC

27   violated Cal. Gov't Code § 12651(a)(3).

28


     Case No. 14-cv-04100 KAW                     79
                                      THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 80 of 84



 1                  297.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS and CEPMG GP

 2   conspired with one another to get false and fraudulent claims allowed and paid by the State of

 3   California in violation of Cal. Gov't Code § 12651(a)(1) and (2), to retain overpayments in violation

 4   of Cal. Gov't Code § 12651(a)(7), and to fail to disclose any inadvertent submission of false claims

 5   in violation of Cal. Gov’t Code         § 12651(a)(8).   SUTTER HEALTH, SUTTER VALLEY

 6   HOSPITALS and CEPMG GP also conspired to violate the Stark Law, AKS laws, Cal Bus. & Prof.

 7   Code §§ 650 and 650.1 and Cal. Welf. & Inst. Code § 14107.2.

 8                  298.    SUTTER HEALTH, SUTTER VALLEY HOSPITALS and CEPMG GP acted

 9   in a concerted fashion to defraud the State of California, and acted with others in keeping the facts
10   necessary to investigate the fraud, and the damages caused by the fraud, concealed from the State of
11   California. Accordingly, SUTTER HEALTH, SUTTER VALLEY HOSPITALS and CEPMG GP
12   violated Cal. Gov't Code § 12651(a)(3).
13                  299.    As a result of the actions of Defendants, the State of California has been
14   severely damaged.
15          WHEREFORE, Relator prays for judgment against Defendants as follows:
16          1.      On Count One under the False Claims Act, for the amount of the United States’
17   damages, trebled as required by law, and such civil penalties as are authorized by law, together with
18   all such further relief as may be just and proper;
19          2.      On Count Two under the False Claims Act, for the amount of the United States’

20   damages, trebled as required by law, and such civil penalties as are authorized by law, together with
21   all such further relief as may be just and proper;
22          3.      On Count Three under the False Claims Act, for the amount of the United States’
23   damages, trebled as required by law, and such civil penalties as are authorized by law, together with
24   all such further relief as may be just and proper;
25          4.      On Count Four under the False Claims Act, for the amount of the United States’

26   damages, trebled as required by law, and such civil penalties as are authorized by law, together with

27   all such further relief as may be just and proper;

28          5.      On Count Five under the California False Claims Act, for the amount of the State of


     Case No. 14-cv-04100 KAW                      80
                                       THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 81 of 84



 1   California’s damages, trebled as required by law, and such civil penalties as are authorized by law,

 2   together with all such further relief as may be just and proper;

 3          6.      On Count Six under the California False Claims Act, for the amount of the State of

 4   California’s damages, trebled as required by law, and such civil penalties as are authorized by law,

 5   together with all such further relief as may be just and proper;

 6          7.      On Count Seven under the California False Claims Act, for the amount of the State of

 7   California’s damages, trebled as required by law, and such civil penalties as are authorized by law,

 8   together with all such further relief as may be just and proper;

 9          8.      On Count Eight under the California False Claims Act, for the amount of the State of
10   California’s damages, trebled as required by law, and such civil penalties as are authorized by law,
11   together with all such further relief as may be just and proper;
12          9.      On Count Nine under the California False Claims Act, for the amount of the State of
13   California’s damages, trebled as required by law, and such civil penalties as are authorized by law,
14   together with all such further relief as may be just and proper;
15          10.     That Relator be awarded the maximum Relator share amount pursuant to 31 U.S.C.
16   § 3730(c) and Cal. Gov't Code § 12652;
17          11.     That judgment be granted for the United States of America, State of California and
18   Relator and against Defendants for any costs, including, but not limited to, court costs, expert fees,
19   and all attorneys’ fees incurred by Relator in the prosecution of this case, including, but not limited

20   to, all attorney fees and costs available pursuant to 31 U.S.C. § 3730(d) and Cal. Gov't Code § 12652;
21   and
22          12.     That the United States, State of California, and Relator be granted such other and
23   further relief as the Court deems just and proper.
24

25                                     DEMAND FOR JURY TRIAL
26          Relator demands a jury trial in this case.

27   ///

28   ///


     Case No. 14-cv-04100 KAW                     81
                                      THIRD AMENDED COMPLAINT
           Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 82 of 84



 1         Respectfully submitted this 8th day of December, 2021.

 2                                                    /s/ Sean P. Rodriguez

 3
                                                      BOIES SCHILLER FLEXNER LLP
 4                                                    George F. Carpinello (Admitted Pro Hac Vice)
                                                      gcarpinello@bsfllp.com
 5                                                    Joseph D. Starsia (Admitted Pro Hac Vice)
                                                      jstarsia@bsfllp.com
 6                                                    30 S. Pearl St., 11th Floor
                                                      Albany, NY 12207
 7                                                    Telephone: (518) 434-0600
                                                      Facsimile: (518) 434-0665
 8
                                                      Sean P. Rodriguez (SBN 262437)
 9                                                    srodriguez@bsfllp.com
                                                      Alexander J. Konik (SBN 299291)
10                                                    akonik@bsfllp.com
                                                      44 Montgomery Street, 41st Floor
11                                                    San Francisco, CA 94104
                                                      Telephone: (415) 293-6800
12                                                    Facsimile: (415) 293-6899

13                                                    WILBANKS & GOUINLOCK, LLP
                                                      Marlan B. Wilbanks (Admitted Pro Hac Vice)
14                                                    mbw@wilbanksgouinlock.com
                                                      Susan S. Gouinlock (Admitted Pro Hac Vice)
15                                                    ssg@wilbanksgouinlock.com
                                                      3490 Piedmont Road, NE, Suite 1010
16                                                    Atlanta, Georgia 30305
                                                      Telephone: (404) 842-1075
17                                                    Facsimile: (404) 842-0559

18                                                    WITHROW, MCQUADE & OLSEN, LLP
                                                      Scott C. Withrow (Admitted Pro Hac Vice)
19                                                    swithrow@wmolaw.com
                                                      3379 Peachtree Road, NE, Suite 970
20                                                    Atlanta, Georgia 30326
                                                      Telephone: (404) 814-0200
21                                                    Facsimile: (404) 814-0009

22                                                    HIRST LAW GROUP, P.C.
                                                      Michael A. Hirst, Esq. (SBN 131034)
23                                                    michael.hirst@hirstlawgroup.com
                                                      Marisela Bernal, Esq. (SBN 329589)
24                                                    marisela.bernal@hirstlawgroup.com
                                                      200 B Street, Suite A
25                                                    Davis, CA 95616
                                                      Telephone: (530) 756-7700
26                                                    Facsimile: (530) 756-7707

27                                                    Attorneys for Relator

28


     Case No. 14-cv-04100 KAW                  82
                                   THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 83 of 84



 1   Second Amended Complaint – Exhibit Index
 2   Exhibit 1: SAC CARDIO Physician Assistants Agreement May 1, 2013

 3   Exhibit 2: SAC CARDIO Physician Assistants Agreement May 1, 2011

 4   Exhibit 3: PA Copy of Medicare Files 2012

 5   Exhibit 4: Cardiac ICU MDA – Ingram September 1, 2012

 6   Exhibit 5: Cardiac ICU MDA Amendment – Ingram December 1, 2013

 7   Exhibit 6: Cardiac ICU MDA – Ingram September 1, 2010

 8   Exhibit 7: Ingram MDA Time Sheets January-August 2012

 9   Exhibit 8: HTVAD MDA – Kincade September 1, 2012
10   Exhibit 9: HTVAD MDA – Kincade September 1, 2010
11   Exhibit 10: Kincade MDA Time Sheets January-August 2012
12   Exhibit 11: Surgical Ablation MDA – Longoria September 1, 2012
13   Exhibit 12: Surgical Ablation MDA – Longoria September 1, 2010
14   Exhibit 13: Longoria MDA Time Sheets January-August 2012
15   Exhibit 14: SAC CARDIO Call Coverage Agreement 2008
16   Exhibit 15: SAC CARDIO Call Coverage Agreement 2010
17   Exhibit 16: SAC CARDIO Call Coverage Agreement 2012 Redacted
18   Exhibit 17: SAC CARDIO Call Coverage July 2013
19   Exhibit 18: Specialty Care Clinician Agreement – Ingram

20   Exhibit 19: Email from Brooke Haynes – 2013.11.07
21   Exhibit 20: Email from Laurie Hanvey – 2014.07.28
22   Exhibit 21: Email from Laurie Hanvey – 2014.06.19
23   Exhibit 22: Emails Regarding Urgent! Sacramento Cardio Check Reissued
24   Exhibit 23: Examples of False Claims on Prohibited Referrals - Redacted
25   Exhibit 24: Roberts SSR Service Line May 1, 2014

26   Exhibit 25: Roberts SSR Service Line March 1, 2013

27   Exhibit 26: Roberts Check Requests and Time Sheets April-May 2014

28   Exhibit 27: East Bay Cardiac Admin Agreement 2007


     Case No. 14-cv-04100 KAW                   83
                                    THIRD AMENDED COMPLAINT
            Case 4:14-cv-04100-KAW Document 175 Filed 12/08/21 Page 84 of 84



 1   Exhibit 28: East Bay Cardiac Admin Agreement 2009

 2   Exhibit 29: East Bay Cardiac Admin Agreement 2014

 3   Exhibit 30: East Bay Cardiac Promissory Note 2014

 4   Exhibit 31: Dr. Liu Physician Services Agreement 2008

 5   Exhibit 32: Dr. Liu Call Coverage Agreement 2014

 6   Exhibit 33: Dr. Liu Check Request March 2014

 7   Exhibit 34: Liu Medicare Billings 2012-2015

 8   Exhibit 35: California Emergency Physicians April 2011

 9   Exhibit 36: California Emergency Physicians First Extension March 31 2014
10   Exhibit 37: CEPMG GP Invoices and Hours September-October 2011
11   Exhibit 38: CEPMG GP Invoices and Hours June-July 2013
12   Exhibit 39: Chiang Time Reports July-November 2013
13   Exhibit 40: Check Requests for Disproportionate Share Subsidy January-July 2013
14   Exhibit 41: Sutter Health’s 2020 Consolidated Audited Financial Statements
15

16

17

18

19

20
21

22

23

24

25

26

27

28


     Case No. 14-cv-04100 KAW                   84
                                    THIRD AMENDED COMPLAINT
